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         EXHIBIT 9
     Case 4:21-cv-12492-SDK-EAS ECF No. 43-9, PageID.857 Filed 11/14/23 Page 2 of 55

                                       Jane Doe
                                      06/08/2023                                       ·
·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · ·EASTERN DISTRICT OF MICHIGAN

·3· ·JANE DOE,

·4· · · · · · ·Plaintiff,

·5· · · · · -v-· · · · · · · · · · · ·Case No.:· 21-CV-12492

·6· · · · · · · · · · · · · · · · · · Hon. Shalina D. Kumar

·7· ·UNIVERSITY OF MICHIGAN,

·8· ·et al.,

·9· · · · · · ·Defendants.
· · ·____________________________/
10

11· ·PAGE 1 TO 137

12

13· · · · The deposition of JANE DOE,

14· · · · Taken at 1109 Geddes Avenue, Suite 2300,

15· · · · Ann Arbor, Michigan,

16· · · · Commencing at 2:11 p.m.,

17· · · · Thursday, June 8, 2023,

18· · · · Before Cheryl McDowell, CSR-2662.

19

20

21

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                                                        Jane Doe
                                                       06/08/2023                                            Pages 2..5
                                                       Page 2                                                          Page 4
·1· ·APPEARANCES:
                                                                ·1· · · ·Ann Arbor, Michigan
·2· ·MR. KEITH ALTMAN - P81702
                                                                ·2· · · ·Thursday, June 8, 2023
·3· ·The Law Office of Keith Altman
                                                                ·3· · · ·About 2:11 p.m.
·4· ·33228 West Twelve Mile Road, Suite 375
                                                                ·4· · · · · · · · · · · · · JANE DOE,
·5· ·Farmington Hills, Michigan· 48334
                                                                ·5· · · ·having first been duly sworn, was examined and
·6· ·(516) 456-5885
                                                                ·6· · · ·testified on her oath as follows:
·7· ·keithaltman@kaltmanlaw.com
                                                                ·7· · · · · · · · · MR. KENT:· Let the record reflect that this
·8· · · · ·Appearing on behalf of the Plaintiff.
                                                                ·8· · · ·is the deposition of Jane Doe.
·9
                                                                ·9· · · · · · · · · You can put your hand down.· It's okay.
10· ·MR. THOMAS L. KENT - P55863
                                                                10· · · · · · · · · Jane Doe.· Am I pronouncing that correctly?
11· ·MS. TARA JASTRZEMBOWSKI
                                                                11· · · · · · · · · THE WITNESS:· Yes.
12· ·The University of Michigan
                                                                12· · · · · · · · · MR. KENT:· Okay.· Being taken pursuant to
13· ·1109 Geddes Avenue, Suite 2300
                                                                13· · · ·notice for any and all purposes permitted by the
14· ·Ann Arbor, Michigan· 48109
                                                                14· · · ·Michigan -- excuse me -- the Federal Rules of Court
15· ·(734) 764-0304
                                                                15· · · ·and Federal Rules of Evidence.
16· ·tomkent@umich.edu
                                                                16· EXAMINATION BY MR. KENT:
17· · · · ·Appearing on behalf of the Defendants.
                                                                17· Q.· ·Miss Doe, my name is Tom Kent, and I represent the
18
                                                                18· · · ·defendants in this case.· With me today is Tara
19
                                                                19· · · ·Jastrzembowski, a paralegal that works with me on this
20
                                                                20· · · ·case.· We have a court reporter named Cheryl who is
21
                                                                21· · · ·taking down my questions and your answers and any
22
                                                                22· · · ·input or objections that your attorney has.
23
                                                                23· · · · · · · · · So just a few ground rules before we get
24
                                                                24· · · ·going.· Have you ever taken or given a deposition
25
                                                                25· · · ·before?
                                                       Page 3                                                          Page 5
·1· · · · · · · · · · TABLE OF CONTENTS                         ·1· A.· ·No.
·2· ·Witness· · · · · · · · · · · · · · · · · · Page
                                                                ·2· Q.· ·Okay.· So as Cheryl mentioned, try to keep your voice
·3· ·JANE DOE
                                                                ·3· · · ·up.
·4
·5· ·EXAMINATION BY MR. KENT:· · · · · · · · · · ·4
                                                                ·4· A.· ·Yes.
·6· ·EXAMINATION BY MR. ALTMAN:· · · · · · · · ·134             ·5· Q.· ·And because she's taking down everything that's said
·7                                                              ·6· · · ·in the room, it's important for us to all take turns
·8· · · · · · · · · · · · EXHIBITS                              ·7· · · ·talking.
·9· ·Exhibit· · · · · · · · · · · · · · · · · · Page            ·8· · · · · · · · · So when you're answering a question, I'm
10· ·DEPOSITION EXHIBIT NO. 1· · · · · · · · · · 33             ·9· · · ·not going to interrupt you.· I'm going to let you
11· ·Plaintiff's Second Amended Complaint
                                                                10· · · ·finish before I start talking again, and I would ask
12· ·DEPOSITION EXHIBIT NO. 2· · · · · · · · · · 33
                                                                11· · · ·you to return that courtesy to me.· Just wait for the
13· ·Plaintiff's Responses to Defendants'
· · ·Limited Discovery Requests
                                                                12· · · ·question to be completed, and then you can begin your
14
                                                                13· · · ·answer.
· · ·DEPOSITION EXHIBIT NO. 3· · · · · · · · · · 48             14· · · · · · · · · The next one, and I'm glad you did that.
15                                                              15· · · ·The next ground rule is that Cheryl can't take down
· · ·Michigan Medicine Forms                                    16· · · ·head shakes and nods.· So we have to be audible and we
16                                                              17· · · ·have to be verbal, okay?· Yes?
17· · · · · · ·(Exhibits attached to transcript.)
                                                                18· A.· ·Yes.
18
                                                                19· Q.· ·Okay.· And so I can tell you're a little bit nervous,
19
                                                                20· · · ·so let me say this.· This is a deposition.· There's
20
21
                                                                21· · · ·no judge, there's no jury in here.· This is an
22                                                              22· · · ·opportunity for me to ask you questions to help me
23                                                              23· · · ·better understand your case.
24                                                              24· · · · · · · · · Do you understand that?
25                                                              25· A.· ·Yes.




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                                                       Jane Doe
                                                      06/08/2023                                            Pages 6..9
                                                       Page 6                                                        Page 8
·1· Q.· ·It's not an opportunity for me to make your life         ·1· · · · · · · MR. KENT:· Why?· That person is not
·2· · · ·difficult or make you sad or uncomfortable.              ·2· ·protected.· I'm going to ask a lot of information
·3· · · · · · · · · Do you understand that?                       ·3· ·today.
·4· A.· ·Yes.                                                     ·4· · · · · · · MR. ALTMAN:· I understand, but --
·5· Q.· ·And I won't do that, okay?                               ·5· · · · · · · MR. KENT:· Friends, acquaintances.· There's
·6· · · · · · · · · If you need a break, and this is what you     ·6· ·going to be a lot of stuff we get into.· If we start
·7· · · ·asked before, we'll pick a good time.· If there's a      ·7· ·taking people's names --
·8· · · ·question on the table, do the best you can to answer     ·8· · · · · · · MR. ALTMAN:· I'm just trying to --
·9· · · ·it, and then we'll take a break.                         ·9· · · · · · · COURT REPORTER:· Wait.· One at a time.
10· · · · · · · · · Does that sound fair?                         10· · · · · · · MR. ALTMAN:· I'd give you the answer, but I
11· A.· ·Yes.                                                     11· ·don't know that it needs to be in the transcript.
12· Q.· ·All right.· Is there any reason today that you feel      12· · · · · · · MR. KENT:· Because I want -- this is under
13· · · ·like you can't give this deposition?                     13· ·oath.· I want to know who these people are under oath.
14· · · · · · · · · And the reason I ask that, and let me tell    14· ·I don't want you to tell me.
15· · · ·you why I ask that to make it clear.· Sometimes people   15· · · · · · · MR. ALTMAN:· I'm not going to tell you.
16· · · ·are on medication that affects their memory or their     16· · · · · · · Then just mark this piece confidential, the
17· · · ·mind in some way, and they don't have the recall that    17· ·name.· That's all.
18· · · ·they would need to answer questions, or there might be   18· · · · · · · MR. KENT:· Okay.· Let me do it like this
19· · · ·some other reasons why they feel like they can't give    19· ·because we might have to stop.· Are you instructing
20· · · ·a deposition.                                            20· ·her not to answer that question?
21· · · · · · · · · Is there any reason why you think you can't   21· · · · · · · MR. ALTMAN:· I'm suggesting that that
22· · · ·give a deposition today?                                 22· ·person's confidentiality is at stake here.· They're
23· A.· ·I believe I can still give the deposition today to the   23· ·not here to defend themselves.
24· · · ·best of my ability.                                      24· · · · · · · I'm perfectly happy to give you the
25· Q.· ·All right.· Okay.· Could you state -- we already did     25· ·information.· If you want it under oath, just mark
                                                       Page 7                                                        Page 9
·1· · · ·that, but why don't you state again your full name for   ·1· ·that answer as confidential.· Otherwise, she'll give
·2· · · ·the record.                                              ·2· ·it to you, you know, not under oath, however you want
·3· A.· ·Jane Nicole Doe.                                         ·3· ·it.· But it's just I don't think that --
·4· Q.· ·And what's your home address?                            ·4· · · · · · · MR. KENT:· Okay.· That's not what I'm
·5· · · · · · · · · MR. ALTMAN:· Okay.· Hold on one second. I     ·5· ·saying.· My question is are you instructing her not to
·6· · · ·have no problem giving that to you, but can we do        ·6· ·answer that question?
·7· · · ·that -- that doesn't need to be on the record.           ·7· · · · · · · MR. ALTMAN:· Yes.
·8· · · · · · · · · Can we just go off for a second?              ·8· · · · · · · MR. KENT:· I want to know who the roommate
·9· · · · · · · · · MR. KENT:· We'll do it later.                 ·9· ·is.
10· · · · · · · · · MR. ALTMAN:· Okay.                            10· · · · · · · MR. ALTMAN:· Yes, and I'm going to tell
11· BY MR. KENT:                                                  11· ·you.· We're not refusing to tell you.· We're refusing
12· Q.· ·Are you married?                                         12· ·to tell you in the public transcript.
13· A.· ·No.                                                      13· · · · · · · MR. KENT:· Okay.
14· Q.· ·Are you in a relationship?                               14· · · · · · · MR. ALTMAN:· So just answer --
15· A.· ·No.                                                      15· · · · · · · MR. KENT:· We're not -- this is going to
16· Q.· ·Have you ever been married?                              16· ·keep coming up because I'm going to ask her about
17· A.· ·No.                                                      17· ·acquaintances, I'm going to ask her about family, I'm
18· Q.· ·Do you live alone?                                       18· ·going to ask her about friends.· There's a lot of
19· A.· ·No.                                                      19· ·questions, and every time this comes up, you're going
20· Q.· ·Who do you live with?                                    20· ·to do this and try to keep people's names out of the
21· A.· ·A roommate.                                              21· ·record.
22· Q.· ·Okay.· What's that person's name?                        22· · · · · · · I have a right to know under oath things
23· · · · · · · · · MR. ALTMAN:· I'd rather do that off the       23· ·that are functional about her life so I can get
24· · · ·record.· We'll give it to you.· It doesn't need to be    24· ·questions, answers to questions.
25· · · ·on the record.                                           25· · · · · · · MR. ALTMAN:· And I'm not refusing to let




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                                                       Jane Doe
                                                      06/08/2023                                           Pages 10..13
                                                      Page 10                                                           Page 12
·1· · · ·you do that.· I'm just saying the name has to be         ·1· · · ·to tell you to answer it or not answer it, and I'm
·2· · · ·confidential.                                            ·2· · · ·just going to keep going, and then I'll file a motion
·3· · · · · · · · · MR. KENT:· It doesn't.· That person is no     ·3· · · ·to compel him for sanctions.
·4· · · ·jeopardy of anything.· They don't have to be             ·4· · · · · · · · · MR. ALTMAN:· You should, you should
·5· · · ·protected.· This is just a person out in the world.      ·5· · · ·absolutely do that.
·6· · · · · · · · · MR. ALTMAN:· Okay.· Well, they're not here    ·6· · · · · · · · · MR. KENT:· Okay.· Because this is unreal.
·7· · · ·to defend their right to confidentiality.                ·7· BY MR. KENT:
·8· · · · · · · · · If you want, we'll call the judge.· That's    ·8· Q.· ·So do you have social media accounts?
·9· · · ·fine.                                                    ·9· A.· ·Yes.
10· · · · · · · · · MR. KENT:· Why don't we do that, why don't    10· Q.· ·Okay.· What are the names of your social media
11· · · ·we do that.· No, let's go off the record.                11· · · ·accounts?
12· · · · · · · · · MR. ALTMAN:· Yeah.                            12· · · · · · · · · MR. ALTMAN:· I'm going to object to the
13· · · · · · · · · (Off the record at 2:17 p.m.)                 13· · · ·extent social media accounts did not exist during the
14· · · · · · · · · (Back on the record at 2:35 p.m.)             14· · · ·time of her relationship with the University of
15· · · · · · · · · MR. KENT:· Now we're back on the record.      15· · · ·Michigan and instruct her not to answer in accordance
16· BY MR. KENT:                                                  16· · · ·with the judge's order.
17· Q.· ·Okay.· I'm going to refer to your roommate as just       17· · · · · · · · · MR. KENT:· That's not in accordance with
18· · · ·your roommate for purposes of the deposition, okay?      18· · · ·the judge's order.
19· A.· ·Yes.                                                     19· BY MR. KENT:
20· Q.· ·All right.· Do you have any social media accounts as     20· Q.· ·But, at any rate, do any of the social media accounts
21· · · ·we sit here today?                                       21· · · ·that you're telling me that you have that exist today
22· A.· ·No.                                                      22· · · ·exist five years ago?
23· Q.· ·Any that you have that are just idle that you're not     23· A.· ·No.
24· · · ·using?                                                   24· Q.· ·Okay.· None of them?
25· A.· ·Yes.                                                     25· A.· ·None.
                                                      Page 11                                                           Page 13
·1· Q.· ·What are those?                                          ·1· Q.· ·What social media accounts did you have that existed
·2· A.· ·LinkedIn.                                                ·2· · · ·five years, from 2013 to 2019?
·3· · · · · · · · · MR. ALTMAN:· Hold on.· I'm going to object    ·3· A.· ·I don't remember.
·4· · · ·if they were not in existence at the time that the       ·4· Q.· ·But the social media accounts you have today are not
·5· · · ·matter of this case took place.                          ·5· · · ·with the same carriers or providers that you had in
·6· BY MR. KENT:                                                  ·6· · · ·2013 to 2019 such as Facebook, Twitter, Instagram,
·7· Q.· ·Okay.· You can still answer.                             ·7· · · ·things of that nature?
·8· · · · · · · · · MR. ALTMAN:· I'm going to instruct her not    ·8· A.· ·No.
·9· · · ·to answer if they are not in that time period.           ·9· Q.· ·Okay.· And you don't remember any of them that you had
10· · · · · · · · · MR. KENT:· How can I know if they were in     10· · · ·during that six-year window, correct?
11· · · ·that time period?                                        11· A.· ·I don't remember.
12· · · · · · · · · MR. ALTMAN:· Ask her during the time period   12· Q.· ·But you do know ones that you have today but you're
13· · · ·of this case did you have social media accounts.         13· · · ·not going to tell me because your attorney says you
14· · · · · · · · · MR. KENT:· I'm not confined to the time       14· · · ·shouldn't, is that correct?
15· · · ·period of this case.· She could have said something on   15· A.· ·That's correct.
16· · · ·that account yesterday about what happened in this       16· · · · · · · · · MR. KENT:· No, we're not going to do this.
17· · · ·case or about this case or about anything.· It           17· · · ·Off the record.
18· · · ·doesn't -- that doesn't have to be limited to the        18· · · · · · · · · (Off the record at 2:38 p.m.)
19· · · ·window of that.                                          19· · · · · · · · · (Back on the record at 2:38 p.m.)
20· · · · · · · · · MR. ALTMAN:· So why don't you ask her have    20· BY MR. KENT:
21· · · ·you said anything in your social media accounts about    21· Q.· ·Do you have any family in the area?
22· · · ·this case and establish that.                            22· A.· ·No.
23· BY MR. KENT:                                                  23· Q.· ·No blood relatives in Michigan?
24· Q.· ·Okay.· This is the way we're going to do this from now   24· A.· ·No.· I do have blood relatives in Michigan but not in
25· · · ·on.· I'm going to ask the question.· He's either going   25· · · ·this Ann Arbor area.




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                                                        Jane Doe
                                                       06/08/2023                                          Pages 14..17
                                                      Page 14                                                          Page 16
·1· Q.· ·Okay.· Who are your blood relatives in Michigan?         ·1· · · · · · · · · MR. KENT:· No.
·2· · · · · · · · · MR. ALTMAN:· Names, just we'll give you the   ·2· · · · · · · · · MR. ALTMAN:· Jane, we need to go further.
·3· · · ·names off the record.                                    ·3· BY MR. KENT:
·4· BY MR. KENT:                                                  ·4· Q.· ·Do they all have the same last name as you, all the
·5· Q.· ·Do you talk to your blood relatives in Michigan?         ·5· · · ·people that you just mentioned, your siblings and your
·6· A.· ·Yes.                                                     ·6· · · ·parents?
·7· Q.· ·How are they related to you?                             ·7· A.· ·Yes.
·8· A.· ·I have my mom.                                           ·8· Q.· ·Have you discussed this case with any of those -- I
·9· Q.· ·Okay.                                                    ·9· · · ·think you mentioned five people, two parents and three
10· A.· ·My dad.                                                  10· · · ·siblings, is that correct?
11· Q.· ·Let's start with your mom.                               11· A.· ·Can you repeat your question?
12· · · · · · · · · Where does she live?                          12· Q.· ·Yeah.· You mentioned two parents and three siblings,
13· A.· ·Is this off the record?                                  13· · · ·is that correct?
14· Q.· ·I mean what city, what area.                             14· A.· ·Yes.
15· · · · · · · · · MR. ALTMAN:· That's fine.                     15· Q.· ·Okay.· Tell me the ages of the siblings.
16· · · · · · · · · THE WITNESS:· Troy, Michigan.                 16· A.· ·I would like to keep my siblings' information --
17· BY MR. KENT:                                                  17· · · · · · · · · MR. ALTMAN:· Jane, you've got to answer the
18· Q.· ·Okay.· So relatively close by, within an hour,           18· · · ·question.
19· · · ·correct?                                                 19· BY MR. KENT:
20· A.· ·Yes.                                                     20· Q.· ·I need to know their ages so I can know their kind
21· Q.· ·And your dad?                                            21· · · ·of -- whether they're within kind of the peer age of
22· A.· ·My dad.                                                  22· · · ·you because I'm going to ask you about conversations
23· Q.· ·Does he also live in Troy?                               23· · · ·that you had with them.
24· A.· ·Yes.                                                     24· · · · · · · · · Okay.· So what are their ages as best as
25· Q.· ·Okay.· Who else?                                         25· · · ·you can remember?
                                                      Page 15                                                          Page 17
·1· A.· ·I have my sister, Ashley, my brother, Matthew.           ·1· A.· ·Sibling -- I'll be sibling one.· Sibling two is
·2· Q.· ·Where are they?                                          ·2· · · ·twenty-seven, sibling three is twenty-one, sibling
·3· A.· ·Troy, Michigan.                                          ·3· · · ·four is twenty.
·4· Q.· ·Do they live with your parents?                          ·4· Q.· ·Okay.· So we've already established the names.
·5· A.· ·Yes.                                                     ·5· · · · · · · · · Did you say Melissa or what was the --
·6· Q.· ·Okay.                                                    ·6· · · · · · · · · MR. KENT:· Could you read back the name of
·7· A.· ·And my sister, Melanie.                                  ·7· · · ·her sister, the last one?
·8· Q.· ·And --                                                   ·8· · · · · · · · · COURT REPORTER:· Answer:· And my sister,
·9· · · · · · · · · MR. ALTMAN:· Don't use names.                 ·9· · · ·Melanie.
10· BY MR. KENT:                                                  10· BY MR. KENT:
11· Q.· ·And where is Melanie?                                    11· Q.· ·Is Melanie twenty-seven?· Is she sibling one that you
12· A.· ·I don't want to use the name.                            12· · · ·just referred to?· Is Melanie twenty-seven?
13· · · · · · · · · MR. ALTMAN:· Well, it's okay.· You've         13· A.· ·No.
14· · · ·already used it, so it's okay.· Just answer, just        14· Q.· ·Okay.· Is Melanie -- how old is Melanie?
15· · · ·answer the question.                                     15· · · · · · · · · MR. ALTMAN:· Jane, you've got to answer.
16· · · · · · · · · THE WITNESS:· I thought the names were off    16· · · ·Just answer.
17· · · ·the record?                                              17· · · · · · · · · THE WITNESS:· Twenty.
18· · · · · · · · · MR. ALTMAN:· Okay.· But, Jane, just answer    18· BY MR. KENT:
19· · · ·his question about Melanie.                              19· Q.· ·Okay.· And how old are you today?
20· BY MR. KENT:                                                  20· A.· ·I'm twenty-nine.
21· Q.· ·What area is she in?                                     21· Q.· ·Are you the oldest?
22· A.· ·Troy.                                                    22· A.· ·Yes.
23· Q.· ·Okay.                                                    23· Q.· ·Have you had conversations about either this lawsuit
24· A.· ·But I now have -- could we take a short break?           24· · · ·or the underlying allegations that you've made in this
25· · · · · · · · · MR. ALTMAN:· No.                              25· · · ·lawsuit with any of your siblings?




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                                                        Jane Doe
                                                       06/08/2023                                          Pages 18..21
                                                      Page 18                                                           Page 20
·1· A.· ·I don't remember.                                        ·1· A.· ·I don't remember.
·2· Q.· ·Are you closer to any particular one of your siblings?   ·2· Q.· ·What's your relationship like with them qualitatively
·3· A.· ·Yes.                                                     ·3· · · ·speaking?
·4· Q.· ·Who are you closest to?                                  ·4· A.· ·Distant.
·5· A.· ·Sibling three.                                           ·5· · · · · · · · · So the sibling I am closest with, Matthew.
·6· Q.· ·Melanie?                                                 ·6· Q.· ·Yes.
·7· A.· ·No.· That's sibling four.                                ·7· A.· ·He actually -- I'm very close with him.· He's on the
·8· · · · · · · · · MR. ALTMAN:· Jane, just tell him which        ·8· · · ·autism spectrum disorder, and he goes to special
·9· · · ·sibling.· The names are there.· Just tell him which      ·9· · · ·education school.
10· · · ·sibling, please.                                         10· Q.· ·Okay.· Do you have close friends?
11· · · · · · · · · THE WITNESS:· Matthew.                        11· A.· ·Yes.
12· BY MR. KENT:                                                  12· Q.· ·Who is your closest friend right now?
13· Q.· ·How old is Matthew?                                      13· · · · · · · · · MR. ALTMAN:· Any names she's going to give
14· A.· ·Twenty-one.                                              14· · · ·would be off the record or under confidentiality.
15· Q.· ·And of all of the things that you've alleged in this     15· · · · · · · · · MR. KENT:· Okay.· So you're instructing her
16· · · ·lawsuit in your complaint about the sexual assault,      16· · · ·not to answer that question, who her closest friends
17· · · ·the rape, the internship, mentorship all of that, you    17· · · ·are?
18· · · ·don't have any recollection of ever talking about any    18· · · · · · · · · MR. ALTMAN:· No, I'm not instructing her
19· · · ·of those things with your siblings?                      19· · · ·not to answer.· I'm saying as per the judge's ruling,
20· · · · · · · · · MR. ALTMAN:· Objection.· Sorry.· Objection    20· · · ·it's either going to be off the record or under
21· · · ·form.                                                    21· · · ·confidentiality.· It's your choice.
22· · · · · · · · · You can answer.                               22· BY MR. KENT:
23· · · · · · · · · THE WITNESS:· I don't remember.               23· Q.· ·Okay.· So let's go off the record, and I'll get a list
24· BY MR. KENT:                                                  24· · · ·of your closest friends, and I'll identify them as
25· Q.· ·Do you think that it's -- if you had to make an          25· · · ·friend one, friend two, friend three, and then I'll
                                                      Page 19                                                           Page 21
·1· · · ·educated guess, your best understanding, because         ·1· · · ·ask you questions about them.
·2· · · ·sometimes those are things that we have to do, do you    ·2· · · · · · · · · MR. ALTMAN:· Okay.· Fair.
·3· · · ·think that you have talked to any of your siblings       ·3· BY MR. KENT:
·4· · · ·about this case or the allegations that are made in      ·4· Q.· ·Who they are, where they live, what you talked about,
·5· · · ·it?                                                      ·5· · · ·and so forth, okay?
·6· · · · · · · · · MR. ALTMAN:· Objection to form.· You've       ·6· · · · · · · · · MR. KENT:· So we're off the record, please.
·7· · · ·already asked her twice.· She's given you an answer.     ·7· · · · · · · · · (Off the record at 2:46 p.m.)
·8· · · ·She's not going to give you a third.                     ·8· · · · · · · · · (Back on the record at 2:47 p.m.)
·9· BY MR. KENT:                                                  ·9· · · · · · · · · MR. KENT:· Okay.· Back on the record.
10· Q.· ·You said you don't remember any specific.· You said      10· BY MR. KENT:
11· · · ·you don't remember, okay?· I don't remember who was in   11· Q.· ·Tell me friend one.
12· · · ·my kindergarten class but I know I went to               12· · · · · · · · · MR. ALTMAN:· Do you want his address now
13· · · ·kindergarten, so there's sometimes we know certain       13· · · ·before you go back on?
14· · · ·things.                                                  14· · · · · · · · · MR. KENT:· No.· I'll get that later.
15· · · · · · · · · Do you think that you may have had at some    15· · · · · · · · · MR. ALTMAN:· Okay.
16· · · ·point conversations with your siblings that you just     16· BY MR. KENT:
17· · · ·don't remember today about this case?                    17· Q.· ·Before we talk about friend one, I want to go back to
18· A.· ·Possibly.                                                18· · · ·your roommate and ask you if she is -- let me ask it
19· Q.· ·Okay.                                                    19· · · ·this way.· How long have you known your roommate?
20· A.· ·But with only one specific one.                          20· A.· ·Since fall 2022.
21· Q.· ·The one you're closest with?                             21· Q.· ·How did you meet?
22· A.· ·The one I'm closest with, yes.                           22· A.· ·I live in an apartment with her.
23· Q.· ·Same question with respect to your parents.· Have you    23· Q.· ·Prior to living with her, how did you meet?
24· · · ·talked to them about this case or the allegations that   24· A.· ·I just -- I'm subleasing, so I just met her in my
25· · · ·you've made in it?                                       25· · · ·apartment.




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                                                       Jane Doe
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                                                      Page 22                                                          Page 24
·1· Q.· ·Did you answer some sort of ad for a subtenant that      ·1· · · ·guess we can consider it two semesters.
·2· · · ·she was -- was she looking for a roommate and you        ·2· Q.· ·So you went back in the fall of 2022?
·3· · · ·connected through an ad?· I mean, how did it happen      ·3· A.· ·Yes.
·4· · · ·that you met her, what was the circumstances for your    ·4· Q.· ·And were continuously enrolled up until the end of
·5· · · ·meeting one another?                                     ·5· · · ·this last semester in the spring?
·6· A.· ·Like, how I'm subleasing my apartment?                   ·6· A.· ·As of right now, yes.
·7· Q.· ·Okay.· So you're subleasing to her?                      ·7· Q.· ·How much longer do you have to go in the program?
·8· A.· ·No.· I'm subleasing from another person, and she's my    ·8· A.· ·My anticipated graduation date is winter 2023, so in
·9· · · ·roommate.                                                ·9· · · ·December 2023.
10· Q.· ·All right.· So you first met her just by virtue of       10· Q.· ·Are you taking summer classes?
11· · · ·moving into that space?                                  11· A.· ·I don't think so.
12· A.· ·Yes.                                                     12· Q.· ·Because you're leaving for the summer, correct?
13· Q.· ·All right.· And would you consider that roommate a       13· A.· ·Yes.
14· · · ·friend?                                                  14· Q.· ·Where are you going?
15· A.· ·No.                                                      15· A.· ·I'm going to Dubai, United Arab Emirates.
16· Q.· ·Are you working?                                         16· Q.· ·With family?
17· A.· ·No.                                                      17· A.· ·No.
18· Q.· ·And what do you do for money?                            18· Q.· ·Do you have family there?
19· A.· ·Scholarships.                                            19· A.· ·No.
20· Q.· ·Are you a student?                                       20· Q.· ·All right.· Before your deposition today, not
21· A.· ·Yes.                                                     21· · · ·immediately before but in the days preceding it, have
22· Q.· ·And tell me where you're a student and how long you've   22· · · ·you looked at anything, any documents to refresh your
23· · · ·been a student.                                          23· · · ·memory or prepare for today?
24· A.· ·Can it be off the record?                                24· A.· ·I don't remember.
25· Q.· ·Not really, not on that one.                             25· Q.· ·Other than what you may have talked to your attorney
                                                      Page 23                                                          Page 25
·1· · · · · · · · · MR. ALTMAN:· This is one you should answer.   ·1· · · ·about, did you talk to anyone in preparation for your
·2· · · · · · · · · THE WITNESS:· I'm a student at the            ·2· · · ·deposition?
·3· · · ·University of Michigan School of Public Health, health   ·3· A.· ·I don't remember.
·4· · · ·behavior, health education.                              ·4· · · · · · · · · MR. ALTMAN:· I just want to be clear that
·5· BY MR. KENT:                                                  ·5· · · ·attorney means not just me.· Anybody in the firm.
·6· Q.· ·And when did you begin that program?                     ·6· · · · · · · · · MR. KENT:· Yes, that's correct.
·7· A.· ·Fall 2021.                                               ·7· BY MR. KENT:
·8· Q.· ·Is that a Master's program?                              ·8· Q.· ·Other than any attorneys, have you talked to any
·9· A.· ·Yes.                                                     ·9· · · ·non-attorneys in preparation for your deposition
10· Q.· ·Have you been there continuously since fall of 2021?     10· · · ·today?
11· A.· ·No.                                                      11· · · · · · · · · MR. ALTMAN:· Well, I want to be clear that
12· Q.· ·Tell me about any breaks that you've taken and why.      12· · · ·any of my paralegals count as part of mine, too.
13· A.· ·I took winter 2022 off and summer 2022 off.              13· · · · · · · · · MR. KENT:· That's true.
14· Q.· ·Why?                                                     14· · · · · · · · · MR. ALTMAN:· Just anybody outside of my
15· A.· ·It's been incredibly difficult for me to be a student    15· · · ·firm, fair enough?
16· · · ·here at the University of Michigan with all that I've    16· · · · · · · · · MR. KENT:· Fair enough.
17· · · ·experienced.· I've experienced a hostile educational     17· · · · · · · · · MR. ALTMAN:· Okay.
18· · · ·environment.                                             18· · · · · · · · · THE WITNESS:· I don't remember.
19· Q.· ·All right.· And I'm not going to ask you questions       19· BY MR. KENT:
20· · · ·about that in today's deposition because it's a little   20· Q.· ·And you're sure that there's nothing, no sort of
21· · · ·bit far afield, but we'll explore that another time.     21· · · ·medication or anything that's impairing your memory
22· · · · · · · · · But suffice it to say you've taken two        22· · · ·today?· I mean, you don't recall yesterday, the day
23· · · ·semesters off, is that right?                            23· · · ·before, if you talked to anyone, if you looked at
24· A.· ·I guess it is winter 2022 counts as one semester. I      24· · · ·anything in preparation for today?
25· · · ·don't know if the summers count as a semester, but I     25· A.· ·I am on a medication, but I don't think it impairs my




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                                                       Jane Doe
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                                                     Page 26                                                           Page 28
·1· · · ·memory.                                                  ·1· · · ·conditions from which Miss Doe suffers are relevant to
·2· Q.· ·Have you looked at your complaint in this case?          ·2· · · ·what she was thinking and what she knew and what she
·3· A.· ·Yes.                                                     ·3· · · ·believed about the existence of a mentorship or
·4· Q.· ·The second amended complaint, have you looked at that?   ·4· · · ·internship or shadowing.
·5· A.· ·Yes.                                                     ·5· · · · · · · · · So it is relevant.· It's important.
·6· Q.· ·Have you seen the discovery responses, the               ·6· · · · · · · · · MR. ALTMAN:· You've laid no foundation as
·7· · · ·interrogatory responses that are your responses that     ·7· · · ·to health care professionals during the time in
·8· · · ·were submitted to me?                                    ·8· · · ·question.
·9· A.· ·Yes.                                                     ·9· · · · · · · · · MR. KENT:· I can do that.· I mean --
10· Q.· ·Now, I don't have an attestation or signature on those   10· · · · · · · · · MR. ALTMAN:· I think you need to do that.
11· · · ·which is required from you, and I think at some point    11· BY MR. KENT:
12· · · ·today, we need to go through these answers to            12· Q.· ·Okay.· Did you have a primary care physician from 2013
13· · · ·determine whether you attest to the truth of them, and   13· · · ·to '18?
14· · · ·we'll do that later, but --                              14· A.· ·Yes.
15· · · · · · · · · MR. ALTMAN:· That was an error.· We'll        15· Q.· ·Who is that?
16· · · ·provide it to you.                                       16· A.· ·I don't remember.
17· · · · · · · · · MR. KENT:· Yeah, I sent an email a while      17· Q.· ·Do you remember any names of your health care
18· · · ·back.                                                    18· · · ·providers from 2013 to 2018?
19· · · · · · · · · MR. ALTMAN:· Okay.· I don't think you're      19· A.· ·How do we define health care provider?
20· · · ·going to have to go through every one.· She's going to   20· Q.· ·A therapist, a psychiatrist, a primary care physician,
21· · · ·attest to all of the answers.                            21· · · ·anyone you saw for medical or psychological care or
22· · · · · · · · · MR. KENT:· Yeah.· I just don't want the       22· · · ·treatment.
23· · · ·answers being amended in light of her deposition         23· A.· ·Yes.
24· · · ·testimony.                                               24· Q.· ·Okay.· What are their names?
25· · · · · · · · · MR. ALTMAN:· Well, it can be amended anyway   25· A.· ·Can we go off the record?
                                                     Page 27                                                           Page 29
·1· · · ·in light of her testimony.                               ·1· Q.· ·No.
·2· · · · · · · · · MR. KENT:· Not if they were already signed    ·2· · · · · · · · · MR. ALTMAN:· Those names you can give.
·3· · · ·under oath before today.                                 ·3· · · · · · · · · THE WITNESS:· Doctor Robin Billings.
·4· · · · · · · · · MR. ALTMAN:· They can still be amended.       ·4· BY MR. KENT:
·5· · · · · · · · · MR. KENT:· They can be changed.               ·5· Q.· ·Can you spell Doctor -- the last name?
·6· · · · · · · · · MR. ALTMAN:· They can be changed.             ·6· A.· ·B-I-L-L-I-N-G-S.
·7· · · · · · · · · My point is that there's no dispute that      ·7· Q.· ·And what type of doctor is Doctor Billings?
·8· · · ·what was submitted to you was attested to by her.· She   ·8· A.· ·A clinical psychologist.
·9· · · ·will sign whatever document, and you'll have that. I     ·9· Q.· ·And is Robin a man or a woman?
10· · · ·don't think you need to go through them, this            10· A.· ·A man.
11· · · ·exercise.                                                11· Q.· ·And where is his office?
12· · · · · · · · · MR. KENT:· I was going to do that anyway,     12· A.· ·Troy.
13· · · ·so it doesn't matter.                                    13· Q.· ·Do you have an ongoing therapeutic relationship with
14· · · · · · · · · MR. ALTMAN:· Okay.                            14· · · ·Doctor Billings?
15· BY MR. KENT:                                                  15· A.· ·Yes.
16· Q.· ·So I need to ask you some questions about treaters,      16· Q.· ·Okay.· Anyone else?
17· · · ·your health care providers, so I can get their           17· A.· ·Doctor John Allen is a gastro -- he was a
18· · · ·names.                                                   18· · · ·gastroenterologist or he still is here, but he's not a
19· · · · · · · · · Do you have a primary care physician?         19· · · ·primary care physician.· He's a gastroenterologist.
20· · · · · · · · · MR. ALTMAN:· Bear with me a second.· I'm      20· Q.· ·And I'm assuming that because of the specialty, he's
21· · · ·going to object to that question as it goes beyond the   21· · · ·not a mental health care provider.
22· · · ·scope of the order issued by the court in this case      22· A.· ·No.
23· · · ·and instruct her not to answer.                          23· Q.· ·He's not?
24· · · · · · · · · MR. KENT:· Well, just in response to that     24· A.· ·He's not.
25· · · ·objection, her mental health and mental health           25· Q.· ·Okay.· And is Doctor Allen someone that you see on a




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                                                      Jane Doe
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                                                    Page 30                                                           Page 32
·1· · · ·regular basis for recurring physical issues?            ·1· Q.· ·Do you still take any drugs, medication?· Let me use
·2· A.· ·Not anymore.                                            ·2· · · ·that term.· Do you take any medication for any mental
·3· Q.· ·Okay.· All right.· Any other names?                     ·3· · · ·health condition?
·4· A.· ·That's all I can remember.                              ·4· A.· ·Yes.
·5· Q.· ·What type of care or treatment do you receive from      ·5· Q.· ·What do you take?
·6· · · ·Doctor Billings?                                        ·6· A.· ·Xanax as needed.
·7· A.· ·He's a psychologist, so --                              ·7· Q.· ·But you don't know the name of the prescribing
·8· Q.· ·Right, right.                                           ·8· · · ·physician?
·9· · · · · · · · · So is it talk therapy, is it therapeutic,    ·9· A.· ·No, I don't remember.
10· · · ·is it talk therapy?                                     10· Q.· ·Any other medications?
11· A.· ·Yes.                                                    11· A.· ·No.
12· Q.· ·And how -- okay.· So from 2013 to 2018, can you give    12· Q.· ·Has either the psychiatrist whose name you can't
13· · · ·me a sense for how frequently you had therapeutic       13· · · ·recall or Doctor Billings ever given you a clinical
14· · · ·encounters with Doctor Billings?                        14· · · ·diagnosis of any mental health care condition from
15· A.· ·I started seeing him in 2017.                           15· · · ·which you suffer?
16· Q.· ·Okay.· And is this someone you saw on a weekly basis?   16· · · · · · · · · MR. ALTMAN:· Objection, foundation.
17· A.· ·In 2017?                                                17· · · · · · · · · You can answer.
18· Q.· ·Yeah.                                                   18· · · · · · · · · MR. KENT:· Do you want to go off the
19· A.· ·I believe so.                                           19· · · ·record?
20· Q.· ·Was there a point in time in your therapeutic           20· · · · · · · · · MR. ALTMAN:· No, no.· It's my diabetes
21· · · ·relationship with Doctor Billings that the frequency    21· · · ·pump.
22· · · ·of your visits with him increased or decreased?         22· · · · · · · · · Do you remember the question?· I'm sorry
23· A.· ·Increased.                                              23· · · ·this interrupted you.
24· Q.· ·Okay.· And what period of time was that?                24· · · · · · · · · THE WITNESS:· I've been diagnosed with
25· A.· ·Within 2017.                                            25· · · ·post-traumatic stress disorder.
                                                    Page 31                                                           Page 33
·1· Q.· ·Okay.· Since 2017 has the frequency remained            ·1· BY MR. KENT:
·2· · · ·consistent, or has it gone down?                        ·2· Q.· ·Okay.· Anything else?
·3· A.· ·Decreased.                                              ·3· A.· ·That's it.
·4· Q.· ·And now how frequently do you see Doctor Billings?      ·4· Q.· ·And who diagnosed you with that?
·5· A.· ·Occasionally.                                           ·5· A.· ·Doctor Robin Billings.
·6· Q.· ·On an as-needed basis?                                  ·6· Q.· ·I'm going to ask you some more specific questions, so
·7· A.· ·Yes.                                                    ·7· · · ·you can give me a yes or no answer.
·8· Q.· ·And when you do, is it telemed Zoom, or do you go in    ·8· · · · · · · · · Have you ever been diagnosed with any sort
·9· · · ·person or both?                                         ·9· · · ·of disorders relating to paranoia or delusion?
10· A.· ·Both.                                                   10· A.· ·No.
11· Q.· ·And just to make sure I've covered everything, any      11· Q.· ·A mania?
12· · · ·other mental health care providers?· Do you have a      12· A.· ·No.
13· · · ·psychiatrist?· For instance, Doctor Billings can't      13· Q.· ·Bipolar?
14· · · ·prescribe medicine.· Do you have a psychiatrist?        14· A.· ·No.
15· A.· ·As of right now, no.                                    15· Q.· ·Psychosis?
16· Q.· ·Okay.· Have you ever?                                   16· A.· ·No.
17· A.· ·Yes.                                                    17· Q.· ·Histrionic personality disorder?
18· Q.· ·And do you remember that person's name?                 18· A.· ·No.
19· A.· ·No.· I don't remember.                                  19· Q.· ·Okay.
20· Q.· ·Did that psychiatrist prescribe any drugs for you?      20· · · · · · · · · (Deposition Exhibits Nos. 1 and 2 marked
21· A.· ·Yes.                                                    21· · · · · · · · · and attached.)
22· Q.· ·What drugs were those?                                  22· BY MR. KENT:
23· A.· ·I don't remember.                                       23· Q.· ·I'm going to put this in front of you, also, because
24· Q.· ·You don't remember the drugs you were taking?           24· · · ·I'll refer to both of them.· Exhibit 1 is your second
25· A.· ·Uh-uh.                                                  25· · · ·amended complaint.· Exhibit 2 are the -- your




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                                                       Jane Doe
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                                                     Page 34                                                                Page 36
·1· · · ·responses to the discovery that we requested with the    ·1· A.· ·Yes.
·2· · · ·attachments that you provided.                           ·2· Q.· ·Okay.· So the mentorship would you say is broader in
·3· · · · · · · · · So before we start talking about your         ·3· · · ·scope?
·4· · · ·answers and allegations, in various places including     ·4· A.· ·Yes.
·5· · · ·in these documents that are marked 1 and 2 as well as    ·5· Q.· ·All right.· And would you -- and when I say would you,
·6· · · ·emails, there are three words that are kind of used in   ·6· · · ·correct me if I'm wrong --
·7· · · ·various ways, the words mentorship, internship, and      ·7· A.· ·Okay.
·8· · · ·shadowing, okay?                                         ·8· Q.· ·-- or if I'm not saying something that you agree with.
·9· · · · · · · · · You've heard those words before, correct?     ·9· · · ·I'm not trying to put words in your mouth.
10· A.· ·Yes.                                                     10· A.· ·Okay.· Thank you.
11· Q.· ·Okay.· Can you tell me taking them one at a time what    11· Q.· ·So the mentorship you would say is broader in scope.
12· · · ·each of those things means to you if they have           12· · · · · · · · · But would you say the internship itself was
13· · · ·different meanings or if you think that they all mean    13· · · ·limited in scope to the period of time where you were
14· · · ·the same thing.                                          14· · · ·actually coming on site to the hospital?
15· · · · · · · · · But let's start with internship.· What does   15· A.· ·Yes.
16· · · ·that mean to you?                                        16· Q.· ·And would that also be true of the shadowing, you
17· A.· ·A professional and, slash, or educational opportunity.   17· · · ·wouldn't be shadowing him if it were outside of the
18· Q.· ·Okay.· Mentorship.                                       18· · · ·health care facilities, correct?
19· A.· ·I define mentorship as someone who helps someone else    19· A.· ·Yes, shadowing is a specific type of internship.
20· · · ·towards their career.                                    20· Q.· ·Okay.· In what way was there a mentorship relationship
21· Q.· ·Okay.· And shadowing.                                    21· · · ·between you and Doctor Schoenfeld outside of the
22· A.· ·Shadowing is a very common experience within the --      22· · · ·physical hospital environment?
23· · · ·within premedicine.· It's a clinical observation of a    23· A.· ·I was a premedical student at Michigan State
24· · · ·doctor.                                                  24· · · ·University, and he said in his own words that he would
25· Q.· ·Okay.· Of these three things, which best describes       25· · · ·mentor me so I could one day gain admission to the
                                                     Page 35                                                                    Page 37
·1· · · ·what -- how you view your connection to                  ·1· · · ·University of Michigan Medical School.
·2· · · ·Doctor Schoenfeld and the university during 2015?        ·2· Q.· ·Okay.· What did that -- looking, though, outside of
·3· A.· ·Mentorship.                                              ·3· · · ·the internship and shadowing, what did that mentorship
·4· Q.· ·Do you believe you had an official internship with the   ·4· · · ·actually look like?· I mean, what actually happened?
·5· · · ·University of Michigan in 2015?                          ·5· A.· ·Similar to common mentorships that premedical students
·6· A.· ·Yes.                                                     ·6· · · ·have, he would advise me as far as course scheduling.
·7· Q.· ·Okay.· So you do -- while you think mentorship best      ·7· · · ·He would advise me as far as strategy for MCAT
·8· · · ·defines it, you also think that you had an internship?   ·8· · · ·preparation and also help strategize with me as far as
·9· A.· ·Yes.                                                     ·9· · · ·volunteer opportunities, leadership opportunities,
10· Q.· ·So you think you would say that both of those words      10· · · ·just to help prepare my application for successful
11· · · ·fit to describe your situation at the university in      11· · · ·medical school admission.
12· · · ·2015?                                                    12· Q.· ·Do you still intend to go to medical school?
13· A.· ·Yes.                                                     13· A.· ·No.
14· Q.· ·Okay.· And would you say the same with shadowing?        14· Q.· ·All right.· So why don't you turn to paragraph
15· A.· ·Yes.                                                     15· · · ·eighteen of Exhibit 1.· Okay.· I'm going to give you a
16· Q.· ·So all three of these things to you, it would be valid   16· · · ·second.· Every time I ask you to look at a paragraph,
17· · · ·to say that Jane Doe had an internship, Jane Doe had a   17· · · ·I'm going to give you a second to read it.
18· · · ·mentorship, Jane Doe was shadowing?· You think it's      18· · · · · · · · · So I want you to read paragraph eighteen.
19· · · ·fair to say each one of those things in that 2015        19· · · ·Okay?
20· · · ·period?                                                  20· A.· ·Yep.
21· A.· ·Yes.                                                     21· Q.· ·So you met Doctor Schoenfeld in 2013 it says there, is
22· Q.· ·Did the -- what you would characterize as a              22· · · ·that correct?
23· · · ·mentorship, did that exist with Doctor Schoenfeld even   23· A.· ·Yes.
24· · · ·before or after the actual time at the hospital was      24· Q.· ·Is there anything about paragraph eighteen that is not
25· · · ·over?                                                    25· · · ·true?




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                                                       Jane Doe
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                                                     Page 38                                                            Page 40
·1· A.· ·I can say things to make sure I understand your          ·1· BY MR. KENT:
·2· · · ·question.· So to me, this paragraph is true.             ·2· Q.· ·Did you tell the --
·3· Q.· ·All right.· How did you first know of the existence of   ·3· · · · · · · · · MR. ALTMAN:· I've instructed her not to
·4· · · ·Doctor Schoenfeld who is referred to as John Doe in      ·4· · · ·answer any questions about that website or any other
·5· · · ·the complaint?· But how did you, how did you first       ·5· · · ·website.· It is not relevant to the issues that are
·6· · · ·discover that he existed in the world?                   ·6· · · ·currently set forth by the judge.
·7· A.· ·Well, we can see paragraph fifteen, I met him through    ·7· · · · · · · · · MR. KENT:· It is relevant because the
·8· · · ·an online website.                                       ·8· · · ·nature of that website and why they are connecting
·9· Q.· ·And that online website was called                       ·9· · · ·people goes to the very heart of the relationship with
10· · · ·seekingarrangements.com?                                 10· · · ·Doctor Schoenfeld of the money for sex relationship
11· A.· ·I decline to answer due to rape shield laws. I           11· · · ·that we're going to get into in a minute.
12· · · ·decline to answer.· Like --                              12· · · · · · · · · MR. ALTMAN:· Except that's not what the
13· Q.· ·You put it in --                                         13· · · ·court said is before the issues today.· It is her
14· A.· ·I'm going to stick to the operative pleading, online     14· · · ·relationship with the University of Michigan.· Her
15· · · ·website.· I will not let you attack my -- try to         15· · · ·relationship with the doctor is not.
16· · · ·attempt to attack my reputation, sexual history.         16· · · · · · · · · MR. KENT:· Yes, it is, because that's the
17· · · ·That's against rape shield laws in Michigan,             17· · · ·only tie to the university.· There is no other tie.
18· · · ·especially in federal court.                             18· · · · · · · · · MR. ALTMAN:· Okay.· We're not going to --
19· Q.· ·This is a civil case.                                    19· · · · · · · · · MR. KENT:· Okay.· I'm going to make a
20· A.· ·Yeah.· It applies in civil cases.                        20· · · ·record here because --
21· Q.· ·And you understand that my knowledge of that website     21· · · · · · · · · MR. ALTMAN:· Please do, please do.
22· · · ·does none of the things that you're suggesting.· I'm     22· · · · · · · · · MR. KENT:· -- because there was no
23· · · ·simply asking you how you met him, and I'm entitled to   23· · · ·application completed for an internship.
24· · · ·know how you met him because you're alleging a           24· · · · · · · · · MR. ALTMAN:· It does not --
25· · · ·relationship with him that led to a relationship with    25· · · · · · · · · MR. KENT:· Hold on, I'm not done.
                                                     Page 39                                                            Page 41
·1· · · ·the university, my client.                               ·1· · · · · · · · · COURT REPORTER:· One at a time.
·2· · · · · · · · · And so these are foundational questions and   ·2· · · · · · · · · MR. KENT:· I'm not done, because I'm going
·3· · · ·important questions that I need to have answered, and    ·3· · · ·to make a record.
·4· · · ·there's nothing that's attacking you about me            ·4· · · · · · · · · MR. ALTMAN:· Okay.
·5· · · ·understanding how you met and where you met.             ·5· · · · · · · · · MR. KENT:· Okay.· There's no code of
·6· · · · · · · · · MR. ALTMAN:· I believe that --                ·6· · · ·conduct attestation, no HIPAA training, no interview,
·7· · · · · · · · · MR. KENT:· That wouldn't fall under the       ·7· · · ·no request to have her here, no attestation of any
·8· · · ·protection of a rape shield law.                         ·8· · · ·kind, no application, no paperwork, no email, no
·9· · · · · · · · · MR. ALTMAN:· I believe that the complaint     ·9· · · ·badge.· The only connection she has to this university
10· · · ·indicates she met on a website.· I don't really see      10· · · ·is Doctor Schoenfeld.
11· · · ·what the relevance is to exactly what the website is     11· · · · · · · · · And so if that's how you get Title IX
12· · · ·to the questions that the court has currently set        12· · · ·standing is the relationship to him, I'm entitled to
13· · · ·before at this time.                                     13· · · ·go down the road as to what that relationship is and
14· · · · · · · · · So I will instruct her not to answer.         14· · · ·how they met.
15· BY MR. KENT:                                                  15· · · · · · · · · MR. ALTMAN:· And that will be for another
16· Q.· ·Okay.· And you told RACRT investigators where you met    16· · · ·day.· It's not for today because that's not the issues
17· · · ·Doctor Schoenfeld because it's in the CRT notes,         17· · · ·that this court set before.· The court said what's the
18· · · ·correct?· You told them it was                           18· · · ·relationship between the university and Miss Doe.
19· · · ·seekingarrangements.com.                                 19· BY MR. KENT:
20· · · · · · · · · MR. ALTMAN:· Okay.· We're not going to --     20· Q.· ·What's the relationship between the university and
21· · · ·you're not going to end run around it.· I've             21· · · ·you?
22· · · ·instructed her not to answer about this.                 22· A.· ·I was a prospective student at the University of
23· · · · · · · · · You can note it.· If you want to bring it     23· · · ·Michigan, and now I'm a current student at the
24· · · ·up with the judge, feel free to, but we're not going     24· · · ·University of Michigan.
25· · · ·to discuss it.                                           25· Q.· ·In 2015 at the time that you were shadowing and you




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                                                      Jane Doe
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                                                    Page 42                                                           Page 44
·1· · · ·say that you had an internship here, what was your      ·1· · · · · · · · · THE WITNESS:· It is not the employees'
·2· · · ·relationship with the University of Michigan?           ·2· · · ·perceptions.· It is my actions in this internship in
·3· A.· ·I was a prospective student.                            ·3· · · ·the Taubman Health Care Center that make it -- that is
·4· Q.· ·That's it?· I mean --                                   ·4· · · ·mentorship, internship, shadowing opportunity.
·5· · · · · · · · · MR. ALTMAN:· Hold on.· Let her finish.       ·5· BY MR. KENT:
·6· · · · · · · · · MR. KENT:· Yeah, yeah.· Okay.                ·6· Q.· ·Did you complete an application for an internship?
·7· · · · · · · · · THE WITNESS:· I was also an intern.          ·7· A.· ·No.
·8· BY MR. KENT:                                                 ·8· Q.· ·Did you complete an application for a mentorship?
·9· Q.· ·Okay.· But why do you think you were an intern?         ·9· A.· ·No.
10· A.· ·Because he had given me an internship.                  10· Q.· ·Did you complete an application for job shadowing?
11· Q.· ·Who is he?                                              11· A.· ·No.
12· A.· ·John Doe.                                               12· Q.· ·Did you go through any HIPAA training or compliance?
13· Q.· ·Doctor Schoenfeld?                                      13· A.· ·No.
14· A.· ·John Doe.                                               14· Q.· ·Did you sign any attestations for code of conduct?
15· · · · · · · · · MR. KENT:· Okay.· Who there's no order in    15· A.· ·Can I -- may I go back two questions?
16· · · ·place protecting his name in this case.                 16· · · · · · · · · MR. ALTMAN:· No.
17· · · · · · · · · MR. ALTMAN:· There are other issues at       17· · · · · · · · · MR. KENT:· No.
18· · · ·stake that have to do with this where she cannot        18· · · · · · · · · MR. ALTMAN:· You've got to answer his
19· · · ·discuss the name of the doctor.                         19· · · ·question.
20· BY MR. KENT:                                                 20· BY MR. KENT:
21· Q.· ·So the only way, the only reason you believed you had   21· Q.· ·Did you sign any attestations for the code of conduct?
22· · · ·an internship with the University of Michigan was       22· A.· ·I'd like to correct myself on the last question.
23· · · ·because of your relationship with John Doe?             23· · · · · · · · · MR. ALTMAN:· Answer his question first.
24· · · · · · · · · MR. ALTMAN:· Objection, form.                24· · · · · · · · · THE WITNESS:· Start with this one and I can
25· · · · · · · · · THE WITNESS:· No, not my relationship with   25· · · ·correct the last one?
                                                    Page 43                                                           Page 45
·1· · · ·John Doe.· I was in the hospital, in the facilities     ·1· · · · · · · · · MR. ALTMAN:· Just answer his question.
·2· · · ·interacting with patients, interacting with staff,      ·2· BY MR. KENT:
·3· · · ·interacting with faculty.· So the totality of           ·3· Q.· ·Answer the question.
·4· · · ·circumstances, I did have an internship.                ·4· A.· ·All right.· What is --
·5· BY MR. KENT:                                                 ·5· Q.· ·Did you complete any attestations that you had
·6· Q.· ·Who told you you had an internship?                     ·6· · · ·received and reviewed and were complying with the code
·7· A.· ·John Doe said I had an internship.· The employees       ·7· · · ·of conduct that Michigan has?
·8· · · ·would also use the word internship.                     ·8· A.· ·Can you explain the word attestation?
·9· Q.· ·Okay.· So do you understand that the perception of      ·9· Q.· ·Yes.· It's a -- it's your confirmation that you
10· · · ·employees about why you're there doesn't per se --      10· · · ·received certain information and that you agree to
11· A.· ·But it's also my actions.                               11· · · ·comply with it.· It's an acknowledgment on your part.
12· · · · · · · · · MR. ALTMAN:· Hold on.· Let him finish.       12· A.· ·I would say informally by Doctor Schoenfeld.
13· BY MR. KENT:                                                 13· Q.· ·Okay.
14· Q.· ·Doesn't establish an internship?                        14· A.· ·Could I still correct my last --
15· · · · · · · · · MR. ALTMAN:· Objection.                      15· Q.· ·Yes.· What did you want to say about that?
16· BY MR. KENT:                                                 16· A.· ·Thank you for letting me correct my answer, especially
17· Q.· ·Do you understand that?                                 17· · · ·as we go through things quickly.
18· · · · · · · · · MR. ALTMAN:· I'm sorry.                      18· · · · · · · · · So as far as HIPAA compliance, I had
19· · · · · · · · · THE WITNESS:· It is --                       19· · · ·previously said no, but now I'd like to say I don't
20· · · · · · · · · MR. ALTMAN:· Hold on, hold on.· I thought    20· · · ·know because he had told me that he had some taking
21· · · ·you were done.                                          21· · · ·care of the HIPAA compliance and background check.
22· · · · · · · · · Are you done?                                22· · · ·Like, by the time of my arrival, it would have been
23· · · · · · · · · MR. KENT:· Yes.                              23· · · ·taken care of.
24· · · · · · · · · MR. ALTMAN:· Objection, foundation.          24· Q.· ·But you would know if you had HIPAA training because
25· · · · · · · · · Now you can answer.                          25· · · ·you would have done it, correct?




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                                                       Jane Doe
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                                                     Page 46                                                           Page 48
·1· A.· ·No, I don't think so.                                    ·1· Q.· ·Anything that confirms that you had an internship.
·2· Q.· ·You wouldn't have known if you had gone through a        ·2· · · ·Let's start there.· Anything official other than an
·3· · · ·training?                                                ·3· · · ·email from Doctor Schoenfeld.
·4· A.· ·I have also shadowed other doctors, and there was no     ·4· A.· ·So you're asking if I ever got an email from
·5· · · ·formal, formal process in training for HIPAA.            ·5· · · ·University of Michigan directly?
·6· Q.· ·What other doctors have you shadowed?                    ·6· Q.· ·Anyone other than Doctor Schoenfeld that's
·7· A.· ·Yes.· I --                                               ·7· · · ·confirmation of your status at Michigan Medicine as an
·8· · · · · · · · · MR. ALTMAN:· Wait.· Hold on a second.         ·8· · · ·intern.
·9· · · · · · · · · THE WITNESS:· I can answer the question.      ·9· A.· ·No.
10· · · · · · · · · MR. ALTMAN:· Jane, go ahead and answer that   10· · · · · · · · · MR. KENT:· Okay.· Could you mark this whole
11· · · ·question.                                                11· · · ·pack as 3, please?
12· · · · · · · · · THE WITNESS:· Doctor Anthony Emmer, D.O.      12· · · · · · · · · (Deposition Exhibit No. 3 marked and
13· BY MR. KENT:                                                  13· · · · · · · · · attached.)
14· Q.· ·Where was that?                                          14· BY MR. KENT:
15· A.· ·I have to double-check the city.· I believe it may be    15· Q.· ·Okay.· I'm going to hand you what's been marked as
16· · · ·Royal Oak, so E-M-M-E-R.                                 16· · · ·Exhibit 3.· The first five pages of that are Michigan
17· Q.· ·When was that?                                           17· · · ·Medicine policy on visiting observers.
18· A.· ·2017.                                                    18· · · · · · · · · Do you see that?
19· Q.· ·Okay.· So let me go back to my line of questioning.      19· A.· ·Can you repeat your question again?
20· · · ·No application.                                          20· Q.· ·The first five pages is the Michigan Medicine visiting
21· · · · · · · · · Are you familiar with any written form,       21· · · ·observer policy.
22· · · ·request form that anyone submitted to have you           22· · · · · · · · · Do you see that?
23· · · ·accepted as a mentor or intern at the university?        23· A.· ·Yes.
24· A.· ·I believed that John Doe would have.                     24· Q.· ·Have you seen that prior to today?
25· Q.· ·Okay.                                                    25· A.· ·No, this is my first time seeing this.
                                                     Page 47                                                           Page 49
·1· · · · · · · · · MR. ALTMAN:· Hold on.· Let her finish         ·1· Q.· ·Okay.· Page -- the document after that which would be
·2· · · ·answering the --                                         ·2· · · ·the sixth page is the HIPAA Privacy and Security
·3· · · · · · · · · MR. KENT:· I'm not asking what she            ·3· · · ·Regulations.
·4· · · ·believed.                                                ·4· · · · · · · · · Have you seen that prior to today?
·5· · · · · · · · · MR. ALTMAN:· It doesn't matter.· Let her      ·5· A.· ·No.
·6· · · ·answer the question.                                     ·6· Q.· ·Did you complete that as part of your alleged
·7· · · · · · · · · MR. KENT:· Okay.                              ·7· · · ·internship or mentorship at the hospital?
·8· · · · · · · · · MR. ALTMAN:· Then you can object.· But        ·8· A.· ·No.
·9· · · ·you've got to let her answer.                            ·9· Q.· ·Okay.· The document after that, University of Michigan
10· BY MR. KENT:                                                  10· · · ·Health System Code of Conduct Attestation.
11· Q.· ·Well, let me rephrase that because I'm not asking what   11· · · · · · · · · Did you --
12· · · ·you believe.· I'm asking you are you aware of a form,    12· · · · · · · · · MR. ALTMAN:· Hold on one second.· I just
13· · · ·a piece of paper, okay, that someone completed that      13· · · ·think she's got the pages out of order.
14· · · ·was a request for you to be a mentor or intern at        14· · · · · · · · · MR. KENT:· No, she's right.
15· · · ·Michigan Medicine.                                       15· · · · · · · · · MR. ALTMAN:· No, no.· I think she put it --
16· A.· ·I was not aware of a form.· I was never, I was never     16· · · · · · · · · THE WITNESS:· I'll put it like this.
17· · · ·told there would be a form.· I was not aware of a        17· · · · · · · · · MR. ALTMAN:· Yes, please.
18· · · ·form.                                                    18· · · · · · · · · MR. KENT:· Thanks.
19· Q.· ·Thank you.                                               19· BY MR. KENT:
20· · · · · · · · · Do you have any email or any form of          20· Q.· ·The next document is University of Michigan Health
21· · · ·written documentation, a memo, letter, anything that     21· · · ·System Code of Conduct Attestation.
22· · · ·confirms that you have a mentorship, internship, or      22· · · · · · · · · Have you ever seen that prior to today?
23· · · ·shadowing opportunity at the university?                 23· A.· ·No.
24· A.· ·Yeah, we can look through the evidence here.             24· Q.· ·And did you complete that for purposes of your alleged
25· · · · · · · · · Can I show you some?                          25· · · ·internship or mentorship or shadowing at the




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                                                       Jane Doe
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                                                     Page 50                                                           Page 52
·1· · · ·university?                                              ·1· · · · · · · · · THE WITNESS:· That is incorrect.
·2· A.· ·No.                                                      ·2· · · · · · · · · MR. ALTMAN:· Wait.· Objection, form.
·3· Q.· ·Okay.· The next document is the University of Michigan   ·3· · · · · · · · · And I don't see the relevance between her
·4· · · ·Hospitals and Health Centers Visiting Observer Request   ·4· · · ·relationship between her and the University of
·5· · · ·Form.                                                    ·5· · · ·Michigan.
·6· · · · · · · · · Do you know whether that was filled out by    ·6· · · · · · · · · And I'm going to instruct her not to answer
·7· · · ·anyone on your behalf to seek permission for you to be   ·7· · · ·that question based upon the judge's ruling, setting
·8· · · ·an observer at the hospital?                             ·8· · · ·scope of discovery at this time.
·9· A.· ·Based upon my belief, these forms were filled out, or    ·9· · · · · · · · · MR. KENT:· Because it goes to the
10· · · ·based on my belief, like, all of this was taken care     10· · · ·credibility of her believing him and why she believed
11· · · ·of before I came to the internship.                      11· · · ·him when he told her that she had an internship.
12· Q.· ·So you believe that someone would have signed your       12· · · · · · · · · THE WITNESS:· I believed --
13· · · ·name to a HIPAA, the one that we looked at before, the   13· · · · · · · · · MR. ALTMAN:· Hold on.
14· · · ·code of conduct, the HIPAA.· They have places for your   14· · · · · · · · · MR. KENT:· There's no question on the table
15· · · ·signature.                                               15· · · ·yet.· We're making objections here, okay?
16· · · · · · · · · You think someone signed your name to         16· BY MR. KENT:
17· · · ·things?                                                  17· Q.· ·But since you are making objections about it, so I'm
18· A.· ·Maybe they would just leave it blank.                    18· · · ·willing to explore the allegations in the complaint,
19· Q.· ·Without showing it to you, without having you            19· · · ·your own complaint.· These are your allegations.
20· · · ·acknowledge that you had seen it?                        20· A.· ·Yes.
21· · · · · · · · · I mean, let me ask you something because I    21· Q.· ·Okay.· In the complaint on paragraph twenty-four, the
22· · · ·don't mean to make any suggestions here, but if you      22· · · ·bottom of page six, that paragraph details the
23· · · ·have an undergraduate degree, you're in a graduate       23· · · ·financial relationship that you had with
24· · · ·program, you're obviously bright.· You've not a naive    24· · · ·Doctor Schoenfeld, does it not?
25· · · ·person.                                                  25· A.· ·Yes, there's some detail.
                                                     Page 51                                                           Page 53
·1· · · · · · · · · Did you really believe that someone else      ·1· Q.· ·Okay.· And that paragraph, these are not my words or
·2· · · ·was taking care of all of this information?              ·2· · · ·my speculation.· This is your complaint.· It says a
·3· A.· ·I didn't know that --                                    ·3· · · ·final amount of twelve hundred and fifty dollars was
·4· · · · · · · · · MR. ALTMAN:· Wait.· Hold on a second.         ·4· · · ·decided because John Doe, Doctor Schoenfeld, wanted
·5· · · ·Objection, form.                                         ·5· · · ·you to maintain your appearance on each encounter.
·6· · · · · · · · · You can answer.                               ·6· · · · · · · · · Do you see that?
·7· BY MR. KENT:                                                  ·7· A.· ·Yes.
·8· Q.· ·Okay.                                                    ·8· Q.· ·All right.· What was that twelve hundred and fifty
·9· A.· ·I didn't know there was even forms.· When I even did     ·9· · · ·dollars for?
10· · · ·my internship, I did another shadowing with Doctor       10· · · · · · · · · MR. ALTMAN:· Objection.· I'm not going
11· · · ·Anthony Emmer, there was no forms for HIPAA              11· · · ·to --
12· · · ·compliance.· So I did not even know that there was       12· · · · · · · · · THE WITNESS:· I have --
13· · · ·even -- that forms were the standard protocol for a      13· · · · · · · · · MR. ALTMAN:· Wait.· That goes beyond the
14· · · ·compliant internship.                                    14· · · ·scope of the deposition as set forth by the order of
15· Q.· ·All right.· You just believed what the man who had       15· · · ·the court and instruct her not to answer.
16· · · ·been paying you in a sexual relationship was saying,     16· · · · · · · · · THE WITNESS:· I would also like to say --
17· · · ·you just --                                              17· · · · · · · · · MR. ALTMAN:· Jane, there's no question.
18· · · · · · · · · MR. ALTMAN:· Objection.                       18· · · · · · · · · THE WITNESS:· Okay.
19· · · · · · · · · MR. KENT:· Well, I'll lay a foundation for    19· · · · · · · · · MR. ALTMAN:· I've instructed you not to
20· · · ·it.                                                      20· · · ·answer.
21· BY MR. KENT:                                                  21· · · · · · · · · THE WITNESS:· Thank you.
22· Q.· ·Prior to this alleged internship, you had had a sexual   22· BY MR. KENT:
23· · · ·relationship for money with Doctor Schoenfeld,           23· Q.· ·You made allegations of sexual assault against
24· · · ·correct?                                                 24· · · ·Doctor Schoenfeld, correct?
25· · · · · · · · · MR. ALTMAN:· Objection.                       25· · · · · · · · · MR. ALTMAN:· I'll let you answer that




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                                                       Jane Doe
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                                                     Page 54                                                          Page 56
·1· · · ·question.                                               ·1· A.· ·John Doe.
·2· · · · · · · · · THE WITNESS:· Yes.                           ·2· Q.· ·Okay.· And you knew him from your prior relationship,
·3· BY MR. KENT:                                                 ·3· · · ·correct?
·4· Q.· ·Rape?                                                   ·4· A.· ·I always knew him in a mentorship context.
·5· A.· ·Yes.                                                    ·5· Q.· ·But you were having sex with him, correct?
·6· Q.· ·Which would have been a sexual assault, rape, that      ·6· · · · · · · · · MR. ALTMAN:· Objection.· I'm not going to
·7· · · ·occurred prior to 2015, correct?                        ·7· · · ·allow her to --
·8· A.· ·Yes.                                                    ·8· BY MR. KENT:
·9· Q.· ·Okay.· Yet you decided to have an internship with the   ·9· Q.· ·But that's not completely true.· The relationship
10· · · ·very person that you made those allegations against,    10· · · ·wasn't just a mentorship relationship, was it?
11· · · ·is that right?                                          11· · · · · · · · · MR. ALTMAN:· Objection.· That goes beyond
12· · · · · · · · · MR. ALTMAN:· Objection.· This goes beyond    12· · · ·the scope of the limited discovery set forth by the
13· · · ·the scope set forth by the court, and I'm going to      13· · · ·court.
14· · · ·instruct the witness not to answer.                     14· · · · · · · · · I'm going to instruct her not to answer.
15· · · · · · · · · MR. KENT:· What are you talking about? I     15· BY MR. KENT:
16· · · ·mean, my goodness, what are we doing here?· I mean --   16· Q.· ·Paragraph twenty-five of your complaint, we'll just do
17· · · · · · · · · MR. ALTMAN:· I didn't --                     17· · · ·it like this because you've already made the
18· · · · · · · · · MR. KENT:· This man is the only connection   18· · · ·allegations.· Paragraph twenty-five of your complaint
19· · · ·she had with the university, and I'm not even allowed   19· · · ·states:· Plaintiff and John Doe's sexual relationship
20· · · ·to explore this.· The whole purpose of the limited      20· · · ·occurred from 2013 to May, February 2013 to May 2013.
21· · · ·discovery is the connection with the university, and    21· · · · · · · · · Do you see that allegation?
22· · · ·all it is is Doctor Schoenfeld and the relationship     22· A.· ·Yes.
23· · · ·that they had, and I can't even -- this is just --      23· Q.· ·Is it true?
24· · · · · · · · · MR. ALTMAN:· I'm sorry.· I didn't set the    24· · · · · · · · · MR. ALTMAN:· Objection.· I'm not going
25· · · ·scope of discovery.                                     25· · · ·to -- this is limited discovery.· You're entitled to
                                                     Page 55                                                          Page 57
·1· · · · · · · · · MR. KENT:· But you are, you are             ·1· · · ·explore the relationship with the University of
·2· · · ·misunderstanding what it means to explore the scope ·2· · · ·Michigan.
·3· · · ·that she authorized.                                   ·3· BY MR. KENT:
·4· · · · · · · · · MR. ALTMAN:· Well, I don't agree.· We can ·4· Q.· ·So you won't, you won't say whether an allegation in
·5· · · ·agree to disagree.                                     ·5· · · ·the complaint is true or false?
·6· · · · · · · · · If you think I'm incorrect, call the judge, ·6· · · · · · · · · MR. ALTMAN:· The entire complaint is not
·7· · · ·make a motion.· Okay.· I believe I'm acting in         ·7· · · ·the subject of today's deposition.· The court was very
·8· · · ·accordance with the judge's rulings, and I think       ·8· · · ·specific.· You're entitled to explore the relationship
·9· · · ·there's all kinds of questions that you can ask about ·9· · · ·between the plaintiff and the University of Michigan.
10· · · ·her relationship between her and the University of     10· · · · · · · · · Whatever relationship she had with the
11· · · ·Michigan.                                              11· · · ·doctor prior to her involvement with the University of
12· · · · · · · · · MR. KENT:· There is none.· The only         12· · · ·Michigan is not at stake today.· There will be a time
13· · · ·relationship is with him.                              13· · · ·when --
14· · · · · · · · · MR. ALTMAN:· That's your --                 14· · · · · · · · · MR. KENT:· It most certainly is.
15· · · · · · · · · THE WITNESS:· Because I --                  15· · · · · · · · · MR. ALTMAN:· Okay.· We can agree to
16· · · · · · · · · MR. ALTMAN:· Wait.· Jane, please.· Jane,    16· · · ·disagree.
17· · · ·there's no question pending.                           17· · · · · · · · · MR. KENT:· Are you done?· She just said
18· · · · · · · · · THE WITNESS:· Thank you.                    18· · · ·he's the one that gave her the internship.
19· · · · · · · · · MR. ALTMAN:· That's your personal           19· BY MR. KENT:
20· · · ·interpretation of the situation.                       20· Q.· ·Let me ask you this.· Let me ask you this.· Did
21· BY MR. KENT:                                                21· · · ·anyone, anyone in administration, a chair of any
22· Q.· ·Who gave you --                                        22· · · ·department, an administrator of any department,
23· · · · · · · · · MR. KENT:· Back on the record.              23· · · ·anybody tell you that you had an internship with the
24· BY MR. KENT:                                                24· · · ·University of Michigan?· That's a yes or no question.
25· Q.· ·Who gave you the internship at Michigan?               25· · · · · · · · · MR. ALTMAN:· She's already answered.




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                                                       Jane Doe
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                                                     Page 58                                                           Page 60
·1· · · ·Objection, form.                                         ·1· · · ·to get to the right place, please.· Okay.
·2· · · · · · · · · MR. KENT:· No, she has not answered that      ·2· BY MR. KENT:
·3· · · ·question.                                                ·3· Q.· ·Okay.· It says there -- I'm not going to read the
·4· · · · · · · · · MR. ALTMAN:· Yes, she has.                    ·4· · · ·whole thing, but you've had a chance to look at it.
·5· · · · · · · · · MR. KENT:· She hasn't answered about a        ·5· · · ·John Doe instructed plaintiff to lie and say that
·6· · · ·chair, administrator, anyone in leadership.              ·6· · · ·plaintiff was a family friend.
·7· BY MR. KENT:                                                  ·7· · · · · · · · · Do you see that?
·8· Q.· ·Anyone in a position of supervisory control or           ·8· A.· ·Yes.
·9· · · ·management, a department chair, anyone, an               ·9· Q.· ·That was -- was that specifically to Christine Brazo?
10· · · ·administrator of the department, a head of an office     10· A.· ·No.
11· · · ·tell you that you had an internship with the             11· Q.· ·Okay.· He wanted you to take that position with anyone
12· · · ·University of Michigan?                                  12· · · ·who asked?
13· A.· ·As far as those specific roles?· I don't remember if     13· A.· ·Can I explain this sentence?
14· · · ·the word internship was used, but I remember using it.   14· Q.· ·The last sentence?
15· · · · · · · · · The employees would use the word because I    15· A.· ·Yes.
16· · · ·did come across some of those supervisors during my      16· Q.· ·Please.
17· · · ·internship, but it was mostly the employees like the     17· A.· ·Okay.· So I think that the grammar of this is maybe
18· · · ·nurses and staff would use the word.                     18· · · ·not -- I would like to -- even though this is my
19· Q.· ·Anyone that you believe was in a -- that you believed    19· · · ·complaint, even though it's filed and approved, I
20· · · ·was in a position of authority to grant or deny you an   20· · · ·think this one is maybe not worded the best, not
21· · · ·internship at the university?                            21· · · ·worded the best.
22· · · · · · · · · MR. ALTMAN:· Objection, foundation.           22· · · · · · · · · So John Doe did not instruct me to lie.· He
23· BY MR. KENT:                                                  23· · · ·had said that if anyone asks who you are, say you are
24· Q.· ·Okay.· But did you talk to anyone other than             24· · · ·a family friend, and at the time in the year 2015, to
25· · · ·Doctor Schoenfeld about the possibility of coming here   25· · · ·me that felt like a true statement, he is a family
                                                     Page 59                                                           Page 61
·1· · · ·and having an internship before it started?              ·1· · · ·friend, because in the year 2013, he would, he would
·2· A.· ·No.                                                      ·2· · · ·instruct me to call him my uncle.
·3· Q.· ·Okay.· And about how many times did you actually         ·3· · · · · · · · · And this goes back to the grooming and the
·4· · · ·physically come to the hospital to shadow                ·4· · · ·sexual abuse I had experienced from John Doe where he
·5· · · ·Doctor Schoenfeld?                                       ·5· · · ·knew very early on that he, that he physically
·6· A.· ·It was in the winter of 2015 and summer 2015, and the    ·6· · · ·resembles of an uncle of mine, and he would use that
·7· · · ·summer of 2015 is about once a week.· In the winter it   ·7· · · ·to groom me into the sexual abuse.
·8· · · ·was, it was -- winter break was probably a few more      ·8· Q.· ·We're not talking about -- now, you can't talk about
·9· · · ·times.· I'm going to try and make my best reasonable     ·9· · · ·it when you want to talk about it and then not answer
10· · · ·guess.· In the summer it could be one to two times a     10· · · ·my questions about sexual abuse.· So we're either
11· · · ·week.                                                    11· · · ·going to talk about it in light of your relationship
12· Q.· ·Okay.· So when I went through the records, I found two   12· · · ·with him or we're not.
13· · · ·opportunities, two times you shadowed.· It was only      13· · · · · · · · · MR. ALTMAN:· Okay.· Let's take a break for
14· · · ·two times.· As of May 21, 2015, you had only gone        14· · · ·a minute.
15· · · ·there twice in total according to the records that I     15· · · · · · · · · THE WITNESS:· Let's take a break.
16· · · ·received.                                                16· · · · · · · · · MR. KENT:· Thank you.
17· · · · · · · · · Does that sound off to you?                   17· · · · · · · · · (Off the record at 3:35 p.m.)
18· A.· ·That's not correct.· I was there more frequently. I      18· · · · · · · · · (Back on the record at 3:36 p.m.)
19· · · ·even have emails in shadowing from winter, too.          19· · · · · · · · · MR. KENT:· Okay.· Back on.
20· Q.· ·Doctor Schoenfeld told you not to tell anyone about      20· BY MR. KENT:
21· · · ·the internship, didn't he?                               21· Q.· ·When we broke, you were telling me how there were
22· A.· ·No, that's incorrect.                                    22· · · ·aspects of paragraph thirty-six of your second amended
23· Q.· ·Well, let's look at your complaint.· Paragraph           23· · · ·complaint that were inartfully worded and why.
24· · · ·thirty-six to start.· It states there that --            24· · · · · · · · · Do you want to continue on with that
25· · · · · · · · · MR. ALTMAN:· Wait.· Just give me a second     25· · · ·answer?




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                                                       Jane Doe
                                                      06/08/2023                                           Pages 62..65
                                                     Page 62                                                           Page 64
·1· A.· ·No.                                                      ·1· · · ·it's not true.
·2· Q.· ·Okay.· From what you testified to so far, you said       ·2· Q.· ·Okay.· And did he ever ask you to lie?
·3· · · ·that paragraph thirty-six wasn't grammatically           ·3· A.· ·He never told me to lie.
·4· · · ·written the best and that he didn't ask you to lie       ·4· Q.· ·Okay.
·5· · · ·essentially, is that right?· When I say he,              ·5· A.· ·He never said those words.
·6· · · ·Doctor Schoenfeld.                                       ·6· Q.· ·Okay.· So could you turn to Exhibit No. 2 which is
·7· · · · · · · · · MR. ALTMAN:· Objection, form.                 ·7· · · ·your -- Exhibit 2 is your interrogatory answers, and,
·8· · · · · · · · · You can answer.                               ·8· · · ·I'm sorry.· Page nine.· So it's not the exhibits.
·9· · · · · · · · · THE WITNESS:· John Doe told me to say if      ·9· · · ·It's way up here, page nine of your interrogatory
10· · · ·anyone asked who I am, I'm a family friend, and I did    10· · · ·answers.
11· · · ·what he said to do because he was in control of me       11· · · · · · · · · Okay.· Do you see that?
12· · · ·during the internship, a supervisory authority figure.   12· A.· ·Yes.
13· BY MR. KENT:                                                  13· · · · · · · · · MR. ALTMAN:· Hold on, hold on.· I'm not --
14· Q.· ·At the time he told you that, he told you it was to      14· · · · · · · · · MR. KENT:· I'm sorry.· Page nine.
15· · · ·avoid raising suspicion, correct?                        15· · · · · · · · · MR. ALTMAN:· Not of the documents, of the
16· A.· ·No, that's not.                                          16· · · ·answers themselves?
17· Q.· ·He told you to wear scrubs to avoid raising suspicion?   17· · · · · · · · · MR. KENT:· That's right.
18· A.· ·No, no, it's not grammatically correct.· I had           18· · · · · · · · · MR. ALTMAN:· Okay.
19· · · ·realized to avoid raising suspicion at a later time.     19· BY MR. KENT:
20· · · ·He told me to wear scrubs because it would make me       20· Q.· ·Okay.· So you just testified under oath in this
21· · · ·look more professional, and we have some exhibits.       21· · · ·deposition that he didn't ask you, he didn't ask you
22· Q.· ·I'm going to get to that.                                22· · · ·to lie.· Okay.
23· · · · · · · · · The words to avoid raising suspicion are in   23· A.· ·He never said those words.
24· · · ·the complaint at paragraph thirty-six.                   24· Q.· ·Well, did he ask you to be untruthful or lie?
25· · · · · · · · · What does that mean?                          25· A.· ·Yeah, he never said those words.
                                                     Page 63                                                           Page 65
·1· A.· ·But that is not why he asked me to wear scrubs.· He      ·1· Q.· ·Okay.
·2· · · ·did not say to wear scrubs to avoid raising suspicion.   ·2· A.· ·Yes.
·3· · · ·I think maybe it could have been better worded           ·3· Q.· ·Well, did he ever suggest, did he ever infer, did he
·4· · · ·because, like, in retrospect, he asked me to wear        ·4· · · ·ever anything that he wanted you to lie or be
·5· · · ·scrubs and normal clothes to avoid raising suspicion,    ·5· · · ·untruthful?
·6· · · ·but what he told me before the internship, he told me    ·6· A.· ·He told me to say that if anyone asks who I am, I am a
·7· · · ·to wear scrubs so I look more professional in the        ·7· · · ·family friend.
·8· · · ·hospital.                                                ·8· Q.· ·Okay.· Is that a lie?
·9· Q.· ·Why do those words appear in your complaint if they're   ·9· A.· ·I don't know.
10· · · ·not true?                                                10· Q.· ·You don't know if you're a family friend?
11· · · · · · · · · MR. ALTMAN:· Objection, form.                 11· A.· ·How I define lie is intent to deceit.
12· · · · · · · · · THE WITNESS:· It's just a grammar issue.      12· Q.· ·Okay.· Number five, the question that I asked in
13· BY MR. KENT:                                                  13· · · ·discovery that you also answered under oath is:· Did
14· Q.· ·Did you review your complaint before it was filed?       14· · · ·you lie about the internship as you alleged you were
15· A.· ·Yes.                                                     15· · · ·instructed to do in paragraph thirty-six of your
16· Q.· ·Why didn't you catch it and fix it?                      16· · · ·second amended complaint, and, if so, to whom did you
17· · · · · · · · · MR. ALTMAN:· Objection, form.                 17· · · ·lie.· Your answer was yes.· Your answer under oath was
18· · · · · · · · · You can answer.                               18· · · ·yes, okay, that you were instructed to lie and you did
19· · · · · · · · · THE WITNESS:· I reviewed the complaint very   19· · · ·lie about it.
20· · · ·quickly, and I remember it was also a school night.      20· · · · · · · · · Do you see that answer?· Do you see that?
21· BY MR. KENT:                                                  21· A.· ·Yes.
22· Q.· ·So that statement's not true that he told you that to    22· Q.· ·Do you stand by that that you signed those under oath?
23· · · ·avoid -- he didn't say to avoid raising suspicion?       23· A.· ·Under oath I don't think, like, the word lie, like we
24· A.· ·Yeah, he did not say to avoid raising suspicion.· This   24· · · ·talked about earlier, how do I define mentorship, how
25· · · ·statement can be true with certain grammar, but, no,     25· · · ·do I define shadowing, how do I define internship.




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                                                       Jane Doe
                                                      06/08/2023                                           Pages 66..69
                                                     Page 66                                                           Page 68
·1· · · ·There was still no parameters for the word lie, so I     ·1· · · · · · · · · MR. KENT:· And let's just make note that
·2· · · ·guess it depends on how we define lie.                   ·2· · · ·counsel just took her out of the room in the middle of
·3· · · · · · · · · So did I intently deceive someone, no.        ·3· · · ·a question, and now she's coming back ready to give an
·4· · · ·But, you know, but I still said what he told me to say   ·4· · · ·answer.
·5· · · ·which was a family friend because he was in control of   ·5· · · · · · · · · MR. ALTMAN:· There was no question pending
·6· · · ·the internship, and, and, you know, and he is -- and I   ·6· · · ·at the time.
·7· · · ·do acknowledge that he is not my family friend, but I    ·7· · · · · · · · · MR. KENT:· There was, but, anyway.
·8· · · ·still don't consider that a lie which is why I now       ·8· · · · · · · · · MR. ALTMAN:· No, there wasn't.
·9· · · ·answer I don't know.                                     ·9· · · · · · · · · MR. KENT:· Well, what's she answering
10· Q.· ·Okay.· Which means that your answer to paragraph five    10· · · ·then?
11· · · ·under oath under the penalty of perjury is not true.     11· · · · · · · · · MR. ALTMAN:· She wants to correct the
12· · · · · · · · · MR. ALTMAN:· Objection, form.                 12· · · ·answer that she gave to you.
13· BY MR. KENT:                                                  13· · · · · · · · · MR. KENT:· She wants to correct an answer
14· Q.· ·You said that he asked you to lie and you lied.· You     14· · · ·that she just gave under oath?
15· · · ·said yes.                                                15· · · · · · · · · MR. ALTMAN:· That's correct.
16· · · · · · · · · All I'm asking you is is your answer to       16· · · · · · · · · THE WITNESS:· Yeah.
17· · · ·that question that I asked true or no?                   17· · · · · · · · · MR. KENT:· We've been doing that a lot
18· A.· ·It just depends on how you define the word lie and the   18· · · ·actually.
19· · · ·parameters.                                              19· BY MR. KENT:
20· Q.· ·You didn't make that differentiation and distinction     20· Q.· ·But go ahead.
21· · · ·in the answer.· All you said was yes.                    21· A.· ·Can you please repeat your question again?
22· · · · · · · · · MR. ALTMAN:· Can we take a break?             22· · · · · · · · · MR. ALTMAN:· There's no question pending.
23· · · · · · · · · MR. KENT:· Well, hold on a second.            23· · · ·There's no question pending.
24· · · · · · · · · MR. ALTMAN:· No.· There's no question         24· · · · · · · · · THE WITNESS:· No question pending.· Okay.
25· · · ·pending.                                                 25· · · ·Yes.
                                                     Page 67                                                           Page 69
·1· · · · · · · MR. KENT:· There is a question pending.           ·1· BY MR. KENT:
·2· · · · · · · MR. ALTMAN:· She answered it.                     ·2· Q.· ·Hold on.· I'm not giving you an opportunity to clean
·3· · · · · · · MR. KENT:· There is a question pending.           ·3· · · ·up something you already did.· I mean, the answer is
·4· · · · · · · MR. ALTMAN:· No, there isn't.                     ·4· · · ·on the record.
·5· · · · · · · MR. KENT:· Keith, you are the most                ·5· · · · · · · · · MR. ALTMAN:· So you don't want her to --
·6· ·unprofessional, I swear.                                     ·6· · · · · · · · · MR. KENT:· You can ask her.· You'll have an
·7· · · · · · · MR. ALTMAN:· Listen, if you call me               ·7· · · ·opportunity to ask questions.
·8· ·unprofessional again, you're going to have a bar             ·8· · · · · · · · · MR. ALTMAN:· That's fine, that's fine. I
·9· ·complaint.                                                   ·9· · · ·will.
10· · · · · · · MR. KENT:· Whatever.                              10· · · · · · · · · MR. KENT:· I'm not here to clean up your
11· · · · · · · MR. ALTMAN:· There's no question pending.         11· · · ·client's false statements during this.
12· · · · · · · MR. KENT:· You can't take her out of here         12· · · · · · · · · MR. ALTMAN:· Okay.
13· ·when there's a question pending.                             13· · · · · · · · · MR. KENT:· It's your job, and it's happened
14· · · · · · · MR. ALTMAN:· What's the question that's           14· · · ·about four times now.
15· ·pending?                                                     15· · · · · · · · · MR. ALTMAN:· Okay.· That's fine.
16· · · · · · · MR. KENT:· It was is the answer to number         16· BY MR. KENT:
17· ·five --                                                      17· Q.· ·All right.· Let's go back to the complaint which is
18· · · · · · · MR. ALTMAN:· And she answered it.                 18· · · ·No. 1.· When you went to U of M's Office of
19· · · · · · · MR. KENT:· No, she didn't.· She said it           19· · · ·Institutional Equity which has been renamed since then
20· ·depends how you --                                           20· · · ·to ECRT, did you tell anyone there that you had an
21· · · · · · · (Off the record at 3:34 p.m.)                     21· · · ·internship in 2015?
22· · · · · · · (Back on the record at 3:44 p.m.)                 22· A.· ·I do believe to the best of my ability I did use the
23· · · · · · · MR. ALTMAN:· I think she wants to give you        23· · · ·word internship or I may have used shadowing
24· ·a more complete answer.                                      24· · · ·opportunity, like, synonymous words.
25· · · · · · · Will you give him the answer, please?             25· Q.· ·But you don't have a specific recollection of telling




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                                                       Jane Doe
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                                                     Page 70                                                           Page 72
·1· · · ·anyone that you were an intern at Michigan Medicine in   ·1· A.· ·Yeah.· I've been working with the detective, yes.
·2· · · ·2015?                                                    ·2· Q.· ·I know.
·3· A.· ·During the 2018 ECR Title IX report?                     ·3· A.· ·So I have been -- I've communicated that to the
·4· Q.· ·Yes.                                                     ·4· · · ·detective.
·5· A.· ·I don't remember my exact terminology during that        ·5· Q.· ·I understand.
·6· · · ·time.                                                    ·6· A.· ·Yes.
·7· Q.· ·Would it surprise you to learn that I searched through   ·7· Q.· ·I can still ask about it, though.· That will be public
·8· · · ·all of the documents, three hundred that I recently      ·8· · · ·record when they're done with the investigation, and
·9· · · ·produced to your attorney, and did a search on them,     ·9· · · ·it can be FOIA'd and I'll get it at that point.
10· · · ·and the world internship didn't appear in any of your    10· · · · · · · · · But for the time being, I need to know
11· · · ·communications with OIE.· Would that surprise you?       11· · · ·under oath.· That statement to the AAPD was not under
12· · · · · · · · · MR. ALTMAN:· Objection, foundation.           12· · · ·oath.· This is.· And so I need to know for purposes of
13· · · · · · · · · THE WITNESS:· No, I don't find it             13· · · ·this deposition what you're referring to in terms of
14· · · ·surprising because I still think internship and          14· · · ·this resemblance to an uncle.· You brought it up, and
15· · · ·clinical observation are synonymous.· Clinical           15· · · ·I want to know what the relevance of it is and I want
16· · · ·observation is a more specific type of internship or     16· · · ·you to elaborate for me.
17· · · ·shadowing.                                               17· A.· ·The only elaboration I would want to provide is when
18· BY MR. KENT:                                                  18· · · ·you FOIA the AAPD police report.
19· Q.· ·This shadowing that you believe that you would be        19· · · · · · · · · MR. ALTMAN:· Jane, you need to answer the
20· · · ·doing or that you alleged existed in this case, was it   20· · · ·question.
21· · · ·your expectation going into this in 2015 into this       21· · · · · · · · · THE WITNESS:· Can you repeat the question
22· · · ·alleged internship that it would always be               22· · · ·one more time?
23· · · ·Doctor Schoenfeld that you would be observing?           23· BY MR. KENT:
24· A.· ·Yes, I did believe it was always Doctor Schoenfeld I     24· Q.· ·Yes.· When you testified earlier, you brought up the
25· · · ·would be observing, but also, like, working with         25· · · ·fact that there was some issue about Doctor Schoenfeld
                                                     Page 71                                                           Page 73
·1· · · ·medical students, like, more of a collaborative          ·1· · · ·reassembling an uncle when you were talking about the
·2· · · ·approach.                                                ·2· · · ·allegations in paragraph thirty-six, and I wanted you
·3· Q.· ·Who gave you the internship, Doctor Schoenfeld or        ·3· · · ·to elaborate more about what you meant by that so I
·4· · · ·Michigan Medicine?                                       ·4· · · ·can follow up with more questions.
·5· A.· ·John Doe, Doctor Schoenfeld.                             ·5· · · · · · · · · MR. ALTMAN:· You know what, I have to lodge
·6· Q.· ·When Doctor Schoenfeld as you allege in paragraph        ·6· · · ·an objection just to the extent that you can answer
·7· · · ·thirty-six instructed you to lie and say that you were   ·7· · · ·that question so long as it doesn't involve anybody
·8· · · ·a family friend, did you have any reservations about     ·8· · · ·else other than John Doe in this matter or somebody
·9· · · ·doing that?                                              ·9· · · ·associated directly with the University of Michigan.
10· A.· ·Yes.                                                     10· · · · · · · · · If you can answer it with that regard,
11· Q.· ·What were those reservations?                            11· · · ·fine.· Other than that, I'm going to instruct you not
12· A.· ·I believed that if I did not do what he said and lie     12· · · ·to answer because it goes beyond the scope of the
13· · · ·to family friend that he would retaliate against me.     13· · · ·deposition topics today.
14· Q.· ·In what way?                                             14· · · · · · · · · THE WITNESS:· I will not answer it.
15· A.· ·That he would try to impact my career as a potential     15· BY MR. KENT:
16· · · ·medical student at the University of Michigan Medical    16· Q.· ·You brought it up.· You were talking about it.
17· · · ·School.                                                  17· A.· ·You can learn more about it in the police report.
18· Q.· ·And before we broke a while ago when you were            18· Q.· ·I shouldn't have to wait for that because we have a
19· · · ·explaining some observations that you had about          19· · · ·status conference next week, and I have to refile a
20· · · ·paragraph thirty-six, you were mentioning his            20· · · ·motion to dismiss your case.
21· · · ·resemblance to an uncle.                                 21· · · · · · · · · I can't wait for their investigation to be
22· · · · · · · · · Can you elaborate on what you were talking    22· · · ·done that they've been working on for over six months
23· · · ·about there?                                             23· · · ·now.· Okay.· That could take forever if they even
24· A.· ·This is in my police report.                             24· · · ·decide to give it to the prosecutor, okay?· I don't
25· Q.· ·With the Ann Arbor Police Department?                    25· · · ·need -- I don't have to wait for that.




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                                                       Jane Doe
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·1· · · · · · · · · Okay.· You've already told them something     ·1· BY MR. KENT:
·2· · · ·that you are not willing to talk about in a sworn        ·2· Q.· ·-- that you made against him.
·3· · · ·deposition in your civil suit.· That's not going to      ·3· · · · · · · · · MR. KENT:· I'm not done.
·4· · · ·fly.· I'm sorry.                                         ·4· · · · · · · · · MR. ALTMAN:· I'm sorry.
·5· · · · · · · · · MR. ALTMAN:· Well, I'm sorry, but this        ·5· BY MR. KENT:
·6· · · ·judge set the scope of this deposition.                  ·6· Q.· ·Is that correct?
·7· · · · · · · · · Whatever this has to do with a family         ·7· · · · · · · · · MR. ALTMAN:· Objection, form.
·8· · · ·friend who is an uncle, I don't see how that has         ·8· · · · · · · · · I'm going to instruct her not to answer.
·9· · · ·anything to do with the relationship between her and     ·9· BY MR. KENT:
10· · · ·the University of Michigan.                              10· Q.· ·And you know that and you understand this that when we
11· · · · · · · · · MR. KENT:· Well, it has to do with her        11· · · ·come back for a much longer deposition if we have to
12· · · ·relationship with John Doe who works for us and is the   12· · · ·later if your case is still alive, it's going to be
13· · · ·only connection to this alleged internship.              13· · · ·much longer, and you're going to have to answer all of
14· · · · · · · · · MR. ALTMAN:· Well, I've given her an          14· · · ·these questions related to your relationship.
15· · · ·instruction.· Let's move on.                             15· · · · · · · · · Do you understand that?
16· BY MR. KENT:                                                  16· · · · · · · · · MR. ALTMAN:· Objection, form.
17· Q.· ·Do you have a badge for Michigan Medicine, an ID card    17· · · · · · · · · I'll instruct her not to answer.
18· · · ·when you claim to have had an internship?                18· BY MR. KENT:
19· A.· ·No.                                                      19· Q.· ·But, no.· Do you understand what we're going to come
20· Q.· ·And you are not going to answer questions about why      20· · · ·back to do later?
21· · · ·you agreed to do an internship with and for a            21· · · · · · · · · MR. ALTMAN:· Objection, foundation.
22· · · ·physician who you claim raped you?· You're not going     22· · · · · · · · · MR. KENT:· Foundation?
23· · · ·to answer questions about that?                          23· · · · · · · · · MR. ALTMAN:· Yeah.
24· · · · · · · · · MR. ALTMAN:· That's correct.· I'm             24· · · · · · · · · MR. KENT:· I'm asking her what she
25· · · ·instructing her not to answer questions about that.      25· · · ·understands.· That's not a foundational objection.
                                                      Page 75                                                          Page 77
·1· BY MR. KENT:                                                  ·1· · · · · · · · · MR. ALTMAN:· Of course it is.
·2· Q.· ·Okay.· He gave you the internship that you're alleging   ·2· · · · · · · · · MR. KENT:· No, it's not.
·3· · · ·is at the heart of this lawsuit, correct?                ·3· · · · · · · · · MR. ALTMAN:· Okay.· That's fine.· You've
·4· A.· ·Yes.                                                     ·4· · · ·asked her a legal question.· She's not a lawyer.
·5· Q.· ·Okay.· And you won't answer any questions about your     ·5· · · · · · · · · MR. KENT:· But I want to know if she
·6· · · ·relationship with him outside of the internship, is      ·6· · · ·understands that you telling her not to answer these
·7· · · ·that what you're saying?                                 ·7· · · ·today is not going to relieve her from answering them
·8· A.· ·No.                                                      ·8· · · ·in the future.
·9· · · · · · · · · MR. ALTMAN:· I've instructed her not to       ·9· · · · · · · · · MR. ALTMAN:· That's wonderful that you've
10· · · ·answer such questions, that's correct.                   10· · · ·advised her of your belief on that.
11· BY MR. KENT:                                                  11· BY MR. KENT:
12· Q.· ·And is it, and is it because you were sued by            12· Q.· ·Okay.· Would you turn to page eight of Exhibit 2.
13· · · ·Doctor Schoenfeld and lost a lawsuit that you can't or   13· · · ·Exhibit 2.· Miss Doe, Exhibit 2.
14· · · ·just because there are other reasons?                    14· · · · · · · · · Okay.· At the bottom it says:· Please
15· · · · · · · · · MR. ALTMAN:· Objection, form, and I would     15· · · ·provide the name and titles of each and every person
16· · · ·instruct her not to answer.                              16· · · ·to whom you reported at the University of Michigan.
17· BY MR. KENT:                                                  17· · · · · · · · · Do you see that?
18· Q.· ·Okay.· You were sued by Doctor Schoenfeld, correct?      18· A.· ·Uh-huh.
19· · · · · · · · · MR. ALTMAN:· Objection, form.                 19· Q.· ·You have to say yes.
20· · · · · · · · · And I'm going to instruct her not to          20· A.· ·Yes.
21· · · ·answer.                                                  21· Q.· ·Okay.· The answer that you gave is that:· Plaintiff's
22· BY MR. KENT:                                                  22· · · ·specific interactions during her internship were with,
23· Q.· ·And you retracted all the allegations, many of which     23· · · ·and you gave some names.
24· · · ·you made in this complaint --                            24· A.· ·Uh-huh.
25· · · · · · · · · MR. ALTMAN:· Objection.                       25· Q.· ·My question in that discovery request was not who your




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·1· · · ·specific interactions were with.· The question was to    ·1· · · ·face value.· When he says to you I've taken care of
·2· · · ·whom you reported.                                       ·2· · · ·everything, you just believed it?
·3· · · · · · · · · To whom did you report at the university as   ·3· · · · · · · · · MR. ALTMAN:· Objection, form.
·4· · · ·part of this alleged internship?                         ·4· BY MR. KENT:
·5· A.· ·I mostly reported to John Doe.                           ·5· Q.· ·But isn't that true?
·6· Q.· ·He would have been the one to set your schedule, to      ·6· · · · · · · · · MR. ALTMAN:· Objection, form.
·7· · · ·tell you where to be and when in terms of patient        ·7· · · · · · · · · You can answer.
·8· · · ·observation and things of that nature, correct?          ·8· · · · · · · · · THE WITNESS:· It was a combination of what
·9· A.· ·Yes.                                                     ·9· · · ·he had told me but also my interactions at the
10· Q.· ·Do you think you had a supervisor/supervisee,            10· · · ·University of Michigan Health System with faculty,
11· · · ·mentor/mentee, shadower/shadowee relationship with       11· · · ·staff, medical students.· So it was a combination of
12· · · ·anyone else other than him?                              12· · · ·my entire experience.
13· A.· ·I believe that because he gave me this internship, he    13· BY MR. KENT:
14· · · ·was an employee at the University of Michigan.           14· Q.· ·But you believed, you believed you had an internship
15· · · · · · · · · My overall relationship with the University   15· · · ·before day one, before you even had any of those
16· · · ·of Michigan was that I was a mentee of the University    16· · · ·interactions, correct?
17· · · ·of Michigan and just, you know, a subordinate of the     17· A.· ·Correct.
18· · · ·University of Michigan because I was here at the         18· · · · · · · · · MR. ALTMAN:· Objection, form.
19· · · ·facilities.                                              19· BY MR. KENT:
20· Q.· ·Because he told you that he had taken care of            20· Q.· ·Okay.· You did.· So those interactions didn't form the
21· · · ·everything?                                              21· · · ·basis of your belief.· You had already felt that way
22· A.· ·Well, I was interacting with patients, with faculty,     22· · · ·based upon what he told you, correct?
23· · · ·staff, medical students.· So I -- so even though he      23· · · · · · · · · MR. ALTMAN:· Objection, form.
24· · · ·was my supervisor or I -- or even though because I --    24· BY MR. KENT:
25· · · ·the mentorship, in the 2015 internship it was to me      25· Q.· ·Correct?· You can answer.
                                                      Page 79                                                          Page 81
·1· · · ·most supervisor/supervisee, but I also -- but it was     ·1· · · · · · · · · MR. ALTMAN:· Yeah.
·2· · · ·also in the greater context of being within the          ·2· · · · · · · · · THE WITNESS:· Can you repeat it one more
·3· · · ·University of Michigan Health System.                    ·3· · · ·time?
·4· Q.· ·But you were only there by virtue of him, correct?       ·4· BY MR. KENT:
·5· · · ·You said he's the one that gave you the internship,      ·5· Q.· ·Yes.· You had already believed regardless of those
·6· · · ·right?                                                   ·6· · · ·interactions that you had later on day one that you
·7· A.· ·Yes.                                                     ·7· · · ·had an internship, correct?
·8· Q.· ·Okay.· And I think that you testified earlier when we    ·8· A.· ·Yes.
·9· · · ·looked at all of the documents in Exhibit 3, you had     ·9· Q.· ·And that was solely based on what he said, correct?
10· · · ·never seen any of those, never even took it upon         10· A.· ·Yes.
11· · · ·yourself to go explore whether or not there were         11· Q.· ·Why did it end in mid August of 2015?
12· · · ·things that needed to be done to make your               12· A.· ·He began to make me feel uncomfortable.
13· · · ·relationship more official, correct?                     13· Q.· ·How so?
14· A.· ·I was not aware of those forms' even existence. I        14· · · · · · · · · MR. ALTMAN:· You can answer that.
15· · · ·wouldn't even know where to look to find them.           15· · · · · · · · · THE WITNESS:· His behavior was
16· Q.· ·But you didn't try, either, did you?                     16· · · ·inappropriate.
17· · · · · · · · · Let me ask it in a less leading way.· Did     17· BY MR. KENT:
18· · · ·you ever go online, jump online, talk to anyone, even    18· Q.· ·How so?
19· · · ·ask Doctor Schoenfeld aren't there some forms I need     19· A.· ·Inappropriate touch and inappropriate comments.
20· · · ·to fill out, isn't there some training I need to do,     20· Q.· ·Let's start with the touch.
21· · · ·isn't there anything that needs to occur more formally   21· · · · · · · · · When and where and how?· I guess explain to
22· · · ·to memorialize this relationship that I have this        22· · · ·me in detail what happened with inappropriate touching
23· · · ·internship?· Did you do that?                            23· · · ·that caused you to want to exit the alleged
24· A.· ·No.                                                      24· · · ·internship.
25· Q.· ·And it's fair to say you just took what he said at       25· A.· ·He specifically instructed me to always go to the




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·1· · · ·cafeteria which is on the second floor and to page him          ·1· · · ·an intern at the University of Michigan, I'll allow
·2· · · ·whenever I arrived, and then he would give me a hug,            ·2· · · ·you to answer.· Otherwise, I'll instruct you not to
·3· · · ·and the way he would give me a hug made me feel                 ·3· · · ·answer.
·4· · · ·uncomfortable, and then to go up to the clinic because          ·4· · · · · · · · · THE WITNESS:· So I will not be answering.
·5· · · ·you've been to the Taubman Center before, right?· It's          ·5· BY MR. KENT:
·6· · · ·on the second floor, the cafeteria is on the second             ·6· Q.· ·So you think he's a sexual predator.· You state in the
·7· · · ·floor, and then the GI Center is on the third floor.            ·7· · · ·complaint that he boasted to you of mentoring similar
·8· · · · · · · · · And he would, he would take me to the third          ·8· · · ·women in the past with whom he had sexual relations,
·9· · · ·floor through a private stairwell and never once took           ·9· · · ·but you're not going to tell me when he said that? I
10· · · ·the public elevators, and during the private stairwell          10· · · ·mean --
11· · · ·is when he began to make me feel very uncomfortable             11· A.· ·No.
12· · · ·over time.                                                      12· · · · · · · · · MR. ALTMAN:· I said if it took place while
13· Q.· ·What did he do in the private stairwell that made you           13· · · ·she was an intern, then she can answer.· If it did not
14· · · ·feel uncomfortable?                                             14· · · ·take place while she was an intern, I'm instructing
15· A.· ·Inappropriate touch and inappropriate comments.                 15· · · ·her not to answer.
16· Q.· ·Touch how?· What did he do?                                     16· BY MR. KENT:
17· A.· ·He caressed my arm, my lower back, in combination with          17· Q.· ·So he never said that to you while you were an intern,
18· · · ·the very, like, long hugs where my chest would be,              18· · · ·while you were an alleged intern?
19· · · ·like, pushed up against his the way he would hug me,            19· · · · · · · · · MR. ALTMAN:· She didn't answer the
20· · · ·but it was more hostile in the stairwell.                       20· · · ·question, either that or you haven't asked her --
21· · · · · · · · · MR. KENT:· And just so we're clear because           21· · · · · · · · · MR. KENT:· She just said I'm not going to
22· · · ·we're down this path a little bit, are you going to             22· · · ·answer.
23· · · ·not allow any questions about the prior sexual                  23· · · · · · · · · MR. ALTMAN:· No.· Answer if it took place
24· · · ·relationship before the internship?                             24· · · ·while you were an intern.
25· · · · · · · · · MR. ALTMAN:· That's correct.                         25· · · · · · · · · THE WITNESS:· So I'll not be answering
                                                               Page 83                                                        Page 85
·1· BY MR. KENT:                                                         ·1· · · ·because that comment did not take place while I was an
·2· Q.· ·And look at page twelve of 1, I'm sorry, Exhibit 1,             ·2· · · ·intern.
·3· · · ·the complaint.                                                  ·3· BY MR. KENT:
·4· · · · · · · · · Do you see paragraph forty-one?                      ·4· Q.· ·It took place before?
·5· · · · · · · · · MR. ALTMAN:· Bear with me a second.· I wish          ·5· · · · · · · · · MR. ALTMAN:· I'm going to instruct her not
·6· · · ·the eyes worked a little better.                                ·6· · · ·to answer.
·7· · · · · · · · · MR. KENT:· Yeah, sorry about that.                   ·7· BY MR. KENT:
·8· · · · · · · · · MR. ALTMAN:· That's all right.· Okay.                ·8· Q.· ·Are the allegations in paragraph forty-one true?· And
·9· · · ·Thank you.                                                      ·9· · · ·it goes on to a second page.
10· BY MR. KENT:                                                         10· A.· ·There's quite a few details about this.
11· Q.· ·The first sentence reads:· John Doe is a sexual                 11· · · · · · · · · MR. ALTMAN:· If you can answer that
12· · · ·predator.                                                       12· · · ·question based on what took place during the
13· · · · · · · · · This is your complaint, correct?                     13· · · ·internship, go ahead.· If not, I'm instructing her not
14· A.· ·Yes.                                                            14· · · ·to answer.
15· Q.· ·Are those your words?                                           15· · · · · · · · · MR. KENT:· So we're going to do this from
16· · · · · · · · · MR. ALTMAN:· I'm not going to, well --               16· · · ·paragraph one because I need to develop a record for a
17· · · · · · · · · THE WITNESS:· Yes, John Doe is a sexual              17· · · ·motion.
18· · · ·predator.                                                       18· BY MR. KENT:
19· BY MR. KENT:                                                         19· Q.· ·I am just -- this is your complaint, and I'm just
20· Q.· ·Okay.· When did he boast to you that he mentored                20· · · ·asking you if the allegations you make are true.· This
21· · · ·similar women with whom he had casual sexual                    21· · · ·is well within the scope, so --
22· · · ·relations?                                                      22· · · · · · · · · MR. ALTMAN:· I don't know that it is.
23· · · · · · · · · MR. ALTMAN:· Just bear with me a second.             23· · · · · · · · · What does it have to do with her
24· · · ·I'm going to object to form.                                    24· · · ·relationship with the University of Michigan?
25· · · · · · · · · And if such a thing happened while you were          25· · · · · · · · · MR. KENT:· Her telling me that something in




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·1· ·her complaint?· All she has to do is say yes, it's     ·1· · · ·that you left the alleged internship, right?
·2· ·true, and it has to do with how she exited.· It's in   ·2· A.· ·Hold on.· Over two years, it was close to, yes.
·3· ·the same discussion.· It's in the same discussion.     ·3· Q.· ·Yeah.· Early 2018 January is when you made the first
·4· · · · · · · MR. ALTMAN:· I'm trying to be consistent    ·4· · · ·contact with the Title IX Office, right?
·5· ·that if it's involving the internship, during the time ·5· A.· ·Yes.
·6· ·of the internship, she can answer, and if it doesn't,  ·6· Q.· ·Okay.· And you left in August 2015.
·7· ·I'm instructing her not to answer.                     ·7· A.· ·Yes.
·8· · · · · · · MR. KENT:· But you are -- the whole case    ·8· Q.· ·Okay.· Why did you wait over two years to make a
·9· ·has to do with this internship.· The whole complaint   ·9· · · ·complaint about someone who -- at least to our office
10· ·is about what happened during the internship.          10· · · ·to make a complaint about someone that you said was
11· · · · · · · MR. ALTMAN:· Okay.                          11· · · ·sexually hostile, sexually hostile to you during your
12· · · · · · · MR. KENT:· So I'm asking her about the      12· · · ·alleged internship?
13· ·truth or falsity of stuff in her original complaint.   13· A.· ·I was afraid.
14· · · · · · · MR. ALTMAN:· That's bootstrapping, and I'm 14· Q.· ·Of what?
15· ·not going to allow it.· I didn't set the limitation on 15· A.· ·Of his retaliation.
16· ·discovery.· The court did.                             16· Q.· ·At some point you asked him to write a recommendation
17· · · · · · · MR. KENT:· No, but you're misinterpreting   17· · · ·letter for you, right?
18· ·what it means, and you are viewing it way too narrow. 18· A.· ·Yes.
19· · · · · · · And when I came into this today, I told you 19· Q.· ·And he refused to do that?
20· ·I was going to be asking some foundational questions 20· A.· ·Yes.
21· ·and I may have to ask things, you know, that are, you 21· Q.· ·Did he tell you why he refused?
22· ·know, related but not, you know, about this window of 22· A.· ·He said his evaluation of me is impacted due to the
23· ·time because it matters because you have made the      23· · · ·knowledge of the previous sexual relationship.
24· ·allegations in the complaint.                          24· Q.· ·Okay.· So there was a previous sexual relationship
25· · · · · · · MR. ALTMAN:· And there will be a time when 25· · · ·before the internship?
                                                     Page 87                                                           Page 89
·1· · · ·you'll be able to depose her and you can ask her all     ·1· A.· ·Yes.
·2· · · ·of these questions.                                      ·2· Q.· ·And that he didn't want his name attached to a
·3· · · · · · · · · MR. KENT:· But these are relevant to my       ·3· · · ·recommendation because of the potential of someone
·4· · · ·renewed notion and you know it, and that's why you're    ·4· · · ·discovering the existence of that relationship.
·5· · · ·doing it.                                                ·5· · · · · · · · · MR. ALTMAN:· Objection.
·6· · · · · · · · · MR. ALTMAN:· No, I don't agree with you.      ·6· BY MR. KENT:
·7· · · ·I'm entitled to disagree with you.                       ·7· Q.· ·Is that what he told you?
·8· · · · · · · · · MR. KENT:· But you're not entitled to make    ·8· · · · · · · · · MR. ALTMAN:· Objection, foundation.
·9· · · ·relevancy objections.                                    ·9· BY MR. KENT:
10· · · · · · · · · MR. ALTMAN:· Yes, I am.· That was the point   10· Q.· ·Or words to that effect.· Did he tell you something
11· · · ·of the court setting forth the scope of discovery        11· · · ·like that?
12· · · ·which she ratified when you called her.                  12· · · · · · · · · MR. ALTMAN:· You can answer.
13· · · · · · · · · MR. KENT:· She said give me the information   13· BY MR. KENT:
14· · · ·so I can follow up on it, and I can depose the           14· Q.· ·Yes.
15· · · ·roommate which I intend to do.                           15· A.· ·He specifically said that he believed that he is
16· · · · · · · · · MR. ALTMAN:· You're going to depose a         16· · · ·unable to provide a letter of evaluation because of
17· · · ·roommate that had nothing to do with this situation.     17· · · ·his evaluation is impacted with his knowledge of a
18· · · ·God bless.· Go ahead.                                    18· · · ·previous sexual relationship.
19· BY MR. KENT:                                                  19· · · · · · · · · However, that was -- it was very
20· Q.· ·You went to the Title IX Office in early 2018,           20· · · ·retaliatory.
21· · · ·correct?                                                 21· Q.· ·You felt it was retaliatory --
22· A.· ·Yes.                                                     22· A.· ·Yes.
23· Q.· ·And you made a complaint, right?                         23· Q.· ·-- to deny you a letter?
24· A.· ·Yes.                                                     24· A.· ·Yes.· I put in my hours and I worked very hard at this
25· Q.· ·And so that was over two years later from the time       25· · · ·internship at the University of Michigan.




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                                                     Page 90                                                           Page 92
·1· Q.· ·Did he know why you left in August of 2015?· Did you     ·1· · · · · · · · · MR. KENT:· Okay.
·2· · · ·share with him that you felt sexually harassed by him    ·2· · · · · · · · · MR. ALTMAN:· Move on.
·3· · · ·when you left the internship?                            ·3· BY MR. KENT:
·4· A.· ·No.                                                      ·4· Q.· ·Okay.· I just need you to answer my question, okay,
·5· Q.· ·Why did you tell him that you were leaving the           ·5· · · ·without qualifying it, okay?
·6· · · ·internship?                                              ·6· · · · · · · · · Did you tell him the truth about what the
·7· A.· ·What was your question?                                  ·7· · · ·main reason was that you left the internship?
·8· Q.· ·Why did you tell him that you were leaving your          ·8· · · · · · · · · MR. ALTMAN:· Objection, asked and answered.
·9· · · ·alleged internship?                                      ·9· · · · · · · · · Please move on.
10· A.· ·I told him that I needed to focus more on my MCAT        10· · · · · · · · · MR. KENT:· No, she didn't answer it.
11· · · ·examination.                                             11· · · · · · · · · MR. ALTMAN:· Yes, she did.
12· Q.· ·And what's the reason that you lied to him about the     12· · · · · · · · · MR. KENT:· She said yes.
13· · · ·reason for leaving the alleged internship?               13· · · · · · · · · MR. ALTMAN:· She answered your question.
14· · · · · · · · · MR. ALTMAN:· Objection, form.                 14· · · ·Please move on.
15· BY MR. KENT:                                                  15· · · · · · · · · MR. KENT:· She said yes.· I don't even know
16· Q.· ·You can answer.                                          16· · · ·what that means.
17· A.· ·Can we define the word lie in our deposition?· Can we    17· · · · · · · · · MR. ALTMAN:· Okay.· I'm sorry that you
18· · · ·define it first before I answer?                         18· · · ·didn't understand her answer.· She gave you one.
19· Q.· ·Well, we all know what the word lie is.                  19· · · · · · · · · MR. KENT:· Could you read back the question
20· · · · · · · · · You didn't tell him the truth about why you   20· · · ·and answer, Cheryl?· This is absurd.
21· · · ·were leaving, correct?                                   21· · · · · · · · · THE COURT REPORTER:· Question:· So what I
22· A.· ·I can answer the question from that definition of lie,   22· · · ·said is true, you didn't tell him the truth about why
23· · · ·or I can answer the question from intent to deceive.     23· · · ·you were leaving, whatever your motive was?
24· Q.· ·When you told him why you were leaving, did you tell     24· · · · · · · · · Answer:· Yes, because I was afraid of his
25· · · ·him the truth?                                           25· · · ·retaliation.
                                                     Page 91                                                           Page 93
·1· A.· ·Me studying for the MCAT was partially true, needing     ·1· · · · · · · · · MR. KENT:· So she answered yes that she
·2· · · ·more time.                                               ·2· · · ·wasn't truthful.
·3· Q.· ·But was that the reason?· You could have studied for     ·3· BY MR. KENT:
·4· · · ·the MCAT while you were continuing on with this          ·4· Q.· ·Okay.· All right.· So let's talk about a lie.· So you
·5· · · ·alleged internship.                                      ·5· · · ·thought that he was going to retaliate against you,
·6· · · · · · · · · When I asked you the question why you left    ·6· · · ·and that's why you weren't truthful with him, is that
·7· · · ·the internship, under oath you told me it was because    ·7· · · ·what you're telling me?
·8· · · ·you were feeling sexually and verbally harassed.         ·8· A.· ·Yes.
·9· A.· ·Yes, that was the main reason as to why I left.          ·9· Q.· ·All right.· How would he retaliate against -- at least
10· Q.· ·Okay.· But you didn't tell him that, correct?            10· · · ·how did you think at the time he could retaliate
11· A.· ·No.                                                      11· · · ·against you?
12· Q.· ·So you didn't tell him the truth about what the main     12· A.· ·In many ways.· I'll give you a few examples.· He told
13· · · ·reason was for you exiting the alleged internship?       13· · · ·me he had sat on medical school admissions committees,
14· · · · · · · · · MR. ALTMAN:· Objection, form.                 14· · · ·especially at the University of Michigan, and he's a
15· BY MR. KENT:                                                  15· · · ·very prestigious doctor in the field of
16· Q.· ·Correct?· Correct?                                       16· · · ·gastroenterology, and that was actually one of my
17· A.· ·Yes, because I was afraid of his retaliation.            17· · · ·interests as well was to be a gastroenterologist. I
18· Q.· ·So what I said is true, you didn't tell him the truth    18· · · ·had considered it.· I was also really interested in
19· · · ·about why you were leaving, whatever your motive was?    19· · · ·nutrition.
20· A.· ·Yes, because I was afraid of his retaliation.            20· · · · · · · · · And I did know that with my pursuit of
21· Q.· ·I didn't ask you about what your motive was.· I just     21· · · ·medicine that there was going to be -- regardless of
22· · · ·asked you if you were truthful with him.· I mean, we     22· · · ·what specialty I chose, I could still encounter him
23· · · ·can talk about the motive in a minute.                   23· · · ·and that he would still retaliate against me in my
24· · · · · · · · · MR. ALTMAN:· Objection, asked and             24· · · ·career.
25· · · ·answered.                                                25· Q.· ·And that was the reason that you waited over two years




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·1· · · ·to make a complaint?                                     ·1· · · ·they did not conduct an investigation, right?
·2· · · · · · · · · MR. ALTMAN:· Objection, form.                 ·2· A.· ·They used the word investigation when they were
·3· BY MR. KENT:                                                  ·3· · · ·speaking with me.
·4· Q.· ·Correct?                                                 ·4· Q.· ·That's not my question.
·5· A.· ·Form means I can answer?                                 ·5· · · · · · · · · Okay.· At some point the Title IX Office
·6· · · · · · · · · MR. ALTMAN:· Yes.· Unless I tell you not to   ·6· · · ·told you that they were not going to and had not
·7· · · ·answer, you can answer.                                  ·7· · · ·completed a formal investigation, correct?
·8· · · · · · · · · THE WITNESS:· That was part of the reason.    ·8· A.· ·Yes.· Formal investigation they were not going to do
·9· BY MR. KENT:                                                  ·9· · · ·is what they said.
10· Q.· ·Okay.· What else?                                        10· Q.· ·And to your knowledge they never did, correct?· They
11· A.· ·During this time of early 2018, there was a shift in     11· · · ·never did an investigation or make any finding on your
12· · · ·dialogue on how we discuss sexual abuse in our           12· · · ·allegations, correct?
13· · · ·community, especially with the Doctor Larry Nassar       13· A.· ·During -- well, now, like, even though they declined a
14· · · ·case.· That was around that time that had come out.      14· · · ·formal investigation, it was my understanding and my
15· · · · · · · · · And for me to admire the bravery of those     15· · · ·belief that they were conducting an informal
16· · · ·girls on TV who bravely spoke out on what happened to    16· · · ·investigation.
17· · · ·them to help their community is what gave me bravery     17· Q.· ·Did they tell you that they -- that office took the
18· · · ·to report what I had experienced with Title IX.          18· · · ·position that they didn't believe your allegations
19· Q.· ·Okay.· Let's talk about that because the allegations     19· · · ·fell within the university's sexual harassment policy?
20· · · ·in your complaint are that he raped you before the       20· · · · · · · · · MR. ALTMAN:· Hold on one second.
21· · · ·internship.                                              21· · · · · · · · · THE WITNESS:· Am I allowed?
22· · · · · · · · · When you were encountering this new-found     22· · · · · · · · · MR. ALTMAN:· Wait.· Hold on.
23· · · ·courage and bravery, did you file a police report or     23· BY MR. KENT:
24· · · ·report of any kind with law enforcement or anywhere      24· Q.· ·This is just for my own benefit.· I'm just asking you
25· · · ·about what happened prior to you having any              25· · · ·a question.
                                                     Page 95                                                           Page 97
·1· · · ·internship, alleged internship with the university?      ·1· · · · · · · · · MR. ALTMAN:· I understand.· I'm trying to
·2· · · · · · · · · MR. ALTMAN:· Objection.· It's outside the     ·2· · · ·decide whether I'm going to object or not.
·3· · · ·scope set forth by the court.                            ·3· · · · · · · · · Can you ask that question one more time?
·4· · · · · · · · · I'm going to instruct the witness not to      ·4· · · · · · · · · MR. KENT:· Yeah.
·5· · · ·answer.                                                  ·5· BY MR. KENT:
·6· BY MR. KENT:                                                  ·6· Q.· ·Did anyone from the OIE Office tell you that they
·7· Q.· ·You were upset about not getting a letter of             ·7· · · ·weren't opening an investigation because the
·8· · · ·recommendation, right?                                   ·8· · · ·allegations that you made didn't fall within the
·9· A.· ·Where is this?                                           ·9· · · ·university's sexual harassment policy?
10· Q.· ·No.· I'm just asking.                                    10· · · · · · · · · MR. ALTMAN:· You can answer the question.
11· A.· ·I was upset that he had retaliated against me, and       11· · · · · · · · · THE WITNESS:· No.· They told me that they
12· · · ·as a form and part of retaliation was for him to         12· · · ·were not going to conduct a formal investigation
13· · · ·not provide the letter of recommendation, and he         13· · · ·because I was not a student, an active University of
14· · · ·retaliated against me because I had refused his sexual   14· · · ·Michigan student or University of Michigan employee at
15· · · ·advances.                                                15· · · ·the time of, at the time of my interactions with John
16· Q.· ·The ones in the stairwell and elsewhere, the hugs and    16· · · ·Doe.
17· · · ·so forth while the internship was -- the alleged         17· BY MR. KENT:
18· · · ·internship was going on, is that what you're talking     18· Q.· ·Okay.· After you make the initial complaint with the
19· · · ·about?                                                   19· · · ·OIE office in January of 2018, did Doctor Schoenfeld
20· A.· ·Yes.                                                     20· · · ·ever sexually harass you or harass you in any
21· Q.· ·So you're saying that he denied you a letter of          21· · · ·sexual-type way after that?
22· · · ·recommendation because you refused sexual advances       22· · · · · · · · · MR. ALTMAN:· I'm going to object.· That's
23· · · ·during the time that you had this alleged internship?    23· · · ·outside the scope of the limits set forth by the court
24· A.· ·Yes.                                                     24· · · ·in this matter, and I'll instruct her not to answer.
25· Q.· ·And eventually the Title IX Office informed you that     25· BY MR. KENT:




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·1· Q.· ·Well, did you ever have any contact with him, with       ·1· Q.· ·I'm sorry.· Forty-four, excuse me, the top of the
·2· · · ·Doctor Schoenfeld, after January 2018?                   ·2· · · ·page.
·3· · · · · · · · · MR. ALTMAN:· That goes outside the scope of   ·3· · · · · · · · · Do you see that?
·4· · · ·the limits set forth by the court in this matter and     ·4· A.· ·Yeah.
·5· · · ·instruct the witness not to answer.                      ·5· Q.· ·It says there in early 2018 you came to our office,
·6· · · · · · · · · MR. KENT:· OIE.· This is what she's saying    ·6· · · ·okay, so this is your connection with the university,
·7· · · ·the OIE investigation was, informal investigation was    ·7· · · ·and it says reported both rapes.
·8· · · ·going on, and she's opened the door to answering         ·8· · · · · · · · · What rapes are you referring to in
·9· · · ·questions about what was happening between January       ·9· · · ·forty-four?
10· · · ·2018 and June 2018 when she was informed that there      10· · · · · · · · · MR. ALTMAN:· No, that is not what is -- not
11· · · ·was not going to be an investigation.· There's a         11· · · ·in play here.· Okay.· You're trying to use the
12· · · ·window there.                                            12· · · ·remedies that she sought claiming that has something
13· · · · · · · · · MR. ALTMAN:· But I don't agree.· That goes    13· · · ·to do with her relationship with the university, and
14· · · ·beyond the scope of the limits set forth by the court.   14· · · ·that goes beyond the scope of the court's ruling, and
15· · · · · · · · · MR. KENT:· You're cherrypicking.· You've      15· · · ·I'm going to instruct her not to answer.
16· · · ·let her answer a ton of questions about the OIE          16· BY MR. KENT:
17· · · ·process, and now you're cherrypicking one particular     17· Q.· ·I can ask her if the rapes that you reference in
18· · · ·question.                                                18· · · ·paragraph forty-four are rapes that occurred during
19· · · · · · · · · MR. ALTMAN:· I'm not cherrypicking one        19· · · ·your alleged internship.
20· · · ·particular question.· The IOE process was specifically   20· · · · · · · · · MR. ALTMAN:· Okay.· That I'll allow.
21· · · ·discussing what took place in the 2015 time frame.       21· BY MR. KENT:
22· · · · · · · · · MR. KENT:· And you know that a defense to     22· Q.· ·Were they?
23· · · ·this case is if is no post knowledge harassment, the     23· A.· ·No.
24· · · ·case goes away under Title IX.                           24· Q.· ·Okay.· So it stands to reason here because they
25· · · · · · · · · MR. ALTMAN:· That is not true.                25· · · ·didn't, the rapes that are referenced in paragraph
                                                     Page 99                                                          Page 101
·1· · · · · · · · · MR. KENT:· It's true.· It is the law, and     ·1· · · ·forty-four didn't occur during the internship, they
·2· · · ·that's why she denied it without prejudice.              ·2· · · ·must have occurred at some other time, correct?
·3· · · · · · · · · MR. ALTMAN:· Okay.· That's just not true.     ·3· · · · · · · · · MR. ALTMAN:· You can answer.
·4· · · · · · · · · MR. KENT:· It is true, but we're not going    ·4· · · · · · · · · THE WITNESS:· Yes.
·5· · · ·to debate that.                                          ·5· BY MR. KENT:
·6· · · · · · · · · MR. ALTMAN:· That's right.· This is not a     ·6· Q.· ·Okay.· And that's what you reported to OIE according
·7· · · ·debate for her, so I've instructed her not to answer.    ·7· · · ·to the allegations?
·8· · · · · · · · · Please move on.                               ·8· A.· ·Yes.
·9· · · · · · · · · MR. KENT:· There's going to be -- I'm just    ·9· Q.· ·Okay.· All right.· Did you report any other behavior
10· · · ·letting you know -- off the record.                      10· · · ·to OIE?
11· · · · · · · · · MR. ALTMAN:· This should be on the record.    11· A.· ·Yes.
12· · · · · · · · · MR. KENT:· No, this is off the record.        12· Q.· ·So you gave them everything --
13· · · · · · · · · COURT REPORTER:· You have to agree to go      13· A.· ·Yes.
14· · · ·off the record.                                          14· Q.· ·-- that involved Doctor Schoenfeld.· Okay.· Yes?
15· · · · · · · · · MR. ALTMAN:· I don't want to go off the       15· A.· ·Yes.
16· · · ·record.· If you're going to make a threat --             16· Q.· ·At the time that you agreed to this alleged
17· · · · · · · · · MR. KENT:· I'm not going to make a threat.    17· · · ·internship, there must have been some period of time
18· · · · · · · · · MR. ALTMAN:· You were just about to.          18· · · ·before you actually came to the hospital where you and
19· BY MR. KENT:                                                  19· · · ·he discussed this possibility, correct, of having an
20· Q.· ·Okay.· Take a look at page fourteen.                     20· · · ·internship?
21· · · · · · · · · MR. ALTMAN:· Of?                              21· A.· ·Repeat your question one more time.
22· · · · · · · · · THE WITNESS:· The complaint?                  22· Q.· ·Yeah.· Before you even set foot in Michigan Medicine
23· BY MR. KENT:                                                  23· · · ·in the spring of 2015 as an alleged intern, you and he
24· Q.· ·The complaint, paragraph forty-five.                     24· · · ·had some discussions, you would have to, correct,
25· A.· ·Uh-huh.                                                  25· · · ·about you doing this?




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·1· A.· ·Yes.                                                     ·1· · · ·you're asking her -- she said that she believed him at
·2· Q.· ·All right.· And those are discussions that would have    ·2· · · ·the start of the fall of 2014 when she was talking
·3· · · ·occurred where and how, by phone, in person?             ·3· · · ·about the internship was the context.
·4· A.· ·Fall 2014.                                               ·4· · · · · · · · · MR. KENT:· Okay.· Let me ask it a different
·5· Q.· ·In person, by phone?· How would you guys talk about      ·5· · · ·way then.
·6· · · ·the plans for this?                                      ·6· BY MR. KENT:
·7· A.· ·This was so long ago, I don't remember.                  ·7· Q.· ·Do you have any reason to question his faith and trust
·8· Q.· ·Okay.· But did you have faith and trust in what he was   ·8· · · ·that you claim to have had in him in the fall of 2014?
·9· · · ·telling you at that time about the potential for some    ·9· A.· ·No.
10· · · ·alleged internship at the hospital?                      10· Q.· ·Okay.· And when you were talking about this
11· A.· ·Yes.                                                     11· · · ·possibility of an alleged internship in 2014, whenever
12· Q.· ·Okay.· So you had faith and trust in him in the fall     12· · · ·those discussions occurred and however they occurred,
13· · · ·of 2014?                                                 13· · · ·did you believe that he was the kind of person that
14· A.· ·Yes.                                                     14· · · ·you wanted to work for in an internship mentorship
15· Q.· ·And nothing that occurred prior to the fall of 2014      15· · · ·capacity at the time?
16· · · ·that would cause you -- that would have caused you to    16· A.· ·Can you repeat it one more time?
17· · · ·have no faith or trust in this man?                      17· Q.· ·Sure.
18· · · · · · · · · MR. ALTMAN:· Hold on.· I think that           18· · · · · · · · · MR. KENT:· Cheryl, you can read it back.
19· · · ·question goes beyond the scope of the limitations set    19· · · · · · · · · THE COURT REPORTER:· Question:· Okay.· And
20· · · ·forth by the court, and I'd instruct the witness not     20· · · ·when you were talking about this possibility of an
21· · · ·to answer.                                               21· · · ·alleged internship in 2014, whenever those discussions
22· · · · · · · · · MR. KENT:· Faith and trust in what she        22· · · ·occurred and however they occurred, did you believe
23· · · ·believed she was getting herself into based on what      23· · · ·that he was the kind of person that you wanted to work
24· · · ·she was told by him is critical.· She's claiming she     24· · · ·for in an internship mentorship capacity at the time?
25· · · ·relied on him.· He gave her the internship.· She had     25· · · · · · · · · THE WITNESS:· At the time he was someone I
                                                    Page 103                                                          Page 105
·1· · · ·faith and trust in what he was telling her in the fall   ·1· · · ·trusted, someone I really admired professionally, and
·2· · · ·of 2014.                                                 ·2· · · ·I did think it would be, I did think it would be, I
·3· BY MR. KENT:                                                  ·3· · · ·did think it would be okay for me to do this
·4· Q.· ·All I'm asking is whether anything had ever happened     ·4· · · ·internship.
·5· · · ·prior to that that would have destroyed or damaged any   ·5· BY MR. KENT:
·6· · · ·faith or trust that you had in Doctor Schoenfeld.        ·6· Q.· ·And from those planning stages before you started and
·7· · · · · · · · · MR. ALTMAN:· I'm going to instruct her not    ·7· · · ·talking about it and what it would look like up until
·8· · · ·to answer it.· She gave you an answer during the time    ·8· · · ·the time when you actually set foot into the hospital,
·9· · · ·period that is relevant.                                 ·9· · · ·there was nothing that happened during that period of
10· · · · · · · · · MR. KENT:· Cherrypicking.· You just let me    10· · · ·time that changed your perception about having faith
11· · · ·ask her without objection to her faith and trust in      11· · · ·and trust in him and wanting to do that, that
12· · · ·the fall of 2014.· She hadn't even started the           12· · · ·internship?
13· · · ·internship.                                              13· A.· ·So we're talking about from fall 2014?
14· · · · · · · · · Why did you let me do that?                   14· Q.· ·Yeah, until you started in the spring.
15· · · · · · · · · MR. ALTMAN:· Because they were talking        15· A.· ·No.
16· · · ·about the internship.                                    16· Q.· ·Okay.· You felt the same way you did when you guys
17· · · · · · · · · MR. KENT:· Yeah, and I'm asking her whether   17· · · ·were discussing the possibility back in the fall of
18· · · ·or not there's anything that would have destroyed --     18· · · ·2014?
19· · · ·any reason she had to believe in what this man was       19· A.· ·Yes.
20· · · ·telling her.                                             20· Q.· ·When you guys were planning this, planning, plotting,
21· · · · · · · · · MR. ALTMAN:· She answered your question       21· · · ·however you want to call it, this alleged internship,
22· · · ·that she believed him, so now you're asking her again    22· · · ·did he ask you to do anything to get ready for it, to
23· · · ·did you really believe him?                              23· · · ·prepare for it?· For instance, did he say I need you
24· · · · · · · · · MR. KENT:· No, that's not what I'm asking.    24· · · ·to fill out this form, I need you to go talk to this
25· · · · · · · · · MR. ALTMAN:· But it is effectively because    25· · · ·person, we need to get any clearances.· Was there any




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·1· · · ·sort of administrative processes at all that he asked    ·1· A.· ·Yes.
·2· · · ·you to go through?                                       ·2· Q.· ·How would we do that?
·3· A.· ·For me, no.                                              ·3· A.· ·We can match my shadowing clinical observation notes I
·4· Q.· ·Okay.· There was a form that I neglected to ask you      ·4· · · ·had provided with the actual patient records, and they
·5· · · ·about that was in Exhibit 3 because we got pulled off    ·5· · · ·will match precisely on the days and procedures
·6· · · ·track, and it's a, it's a form related to vaccinations   ·6· · · ·performed.
·7· · · ·and inoculations that's also required.                   ·7· Q.· ·Okay.· So we can't access patient records for that
·8· · · · · · · · · Did you fill that out?                        ·8· · · ·purpose, and HIPAA training might have alerted you to
·9· A.· ·No.                                                      ·9· · · ·that.
10· Q.· ·Okay.                                                    10· · · · · · · · · But with what we can access of your
11· · · · · · · · · MR. ALTMAN:· Do you want to put that back?    11· · · ·calendar, notes, diaries, journals, is there any way
12· · · · · · · · · THE WITNESS:· Okay.                           12· · · ·for you to know how many days you actually showed up
13· · · · · · · · · MR. KENT:· We'll organize it at the end.      13· · · ·here?· Because you didn't have an M Card, you wouldn't
14· · · · · · · · · MR. ALTMAN:· Okay.                            14· · · ·have buzzed in anywhere.· Is there any way for us to
15· BY MR. KENT:                                                  15· · · ·know?
16· Q.· ·Was there any administrative process involved in your    16· A.· ·All I have is what I produced.· That's all I have.
17· · · ·exiting this alleged internship?· In other words, was    17· Q.· ·I talked to Doctor Schoenfeld recently, and you don't
18· · · ·there an exit interview, was there a last day of work,   18· · · ·have to believe this.· You can take it at face value,
19· · · ·anything that formalized you not coming anymore?         19· · · ·but he thought that it was six to ten times in total
20· A.· ·No.                                                      20· · · ·that you were, and that's what he is prepared to swear
21· Q.· ·Was there any sort of celebration or party or let's      21· · · ·to in an affidavit, about six to ten times or range
22· · · ·say good-bye to Jane Doe type of event that your         22· · · ·that you were actually on site.
23· · · ·alleged internship culminated with?                      23· · · · · · · · · Does that sound accurate to you, does it
24· A.· ·No.                                                      24· · · ·sound off?
25· Q.· ·Would you consider your leaving an abrupt exit?          25· A.· ·I believe that's lower because, like, I was there once
                                                    Page 107                                                          Page 109
·1· A.· ·Yes.                                                     ·1· · · ·a week and I was there for the majority of the summer.
·2· Q.· ·Have you ever gone back and counted -- or let me ask     ·2· · · ·So how many weeks of summer, once a week, and there
·3· · · ·it this way.· Did you keep any records of when you       ·3· · · ·was also the time in the winter break as well that I
·4· · · ·went there?· Do you have a calendar or something on      ·4· · · ·was there.
·5· · · ·your phone where you kept in your diary or calendar      ·5· · · · · · · · · So that number you gave me sounds a little
·6· · · ·how many times you were actually on site?                ·6· · · ·bit lower.
·7· A.· ·No.                                                      ·7· Q.· ·Do you have an estimate that's different than that?
·8· Q.· ·So you didn't -- how do you keep a calendar of your      ·8· · · · · · · · · MR. ALTMAN:· Objection, form.
·9· · · ·day-to-day activities and things that you have coming    ·9· BY MR. KENT:
10· · · ·up?· What do you use?                                    10· Q.· ·You can answer.· I'm just asking you for an estimate.
11· A.· ·A lot of it I just -- it depends on the task, but        11· · · ·I'm not going to hold you to any specific number.
12· · · ·usually a journal for my everyday tasks.                 12· · · · · · · · · MR. ALTMAN:· She gave you an answer.· She
13· Q.· ·Were you doing that journaling in 2015?                  13· · · ·told you once a week, you know.
14· A.· ·During my shadowing notes.                               14· · · · · · · · · THE WITNESS:· In the summer.
15· Q.· ·Did you keep all your shadowing notes?                   15· BY MR. KENT:
16· A.· ·I only have what is left which was what I have           16· Q.· ·So the summer has June through when you left in
17· · · ·provided.                                                17· · · ·August.· We're talking sixteen weeks there, and then
18· Q.· ·How would some still exist and others not or why would   18· · · ·plus what you did up until June.
19· · · ·some still exist and others not?                         19· · · · · · · · · You think you were there over twenty times?
20· A.· ·Around the year, around the year 2016, I did, I did      20· A.· ·Not more than twenty times.
21· · · ·get rid of many of my, my items in the year 2016.        21· Q.· ·Okay.
22· Q.· ·Is there any way for us to go back and reconstruct       22· A.· ·It was less than twenty times.
23· · · ·based upon records that you know or think might exist    23· Q.· ·All right.· Who is Owen Brown?
24· · · ·out there for us to reconstruct when you were actually   24· A.· ·He was a medical student here at the University of
25· · · ·here on site?                                            25· · · ·Michigan and also an undergraduate student at the




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                                                       Jane Doe
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                                                    Page 110                                                          Page 112
·1· · · ·University of Michigan.                                  ·1· · · · · · · · · MR. ALTMAN:· Okay.· So I just want to be
·2· Q.· ·Okay.· Did you know him?                                 ·2· · · ·sure.
·3· · · · · · · · · Where were you an undergrad?                  ·3· BY MR. KENT:
·4· A.· ·Where did I go to school?                                ·4· Q.· ·It says hi, and it's redacted, from John Doe.
·5· Q.· ·Yeah.                                                    ·5· · · · · · · · · Is this to you?
·6· A.· ·I went to Michigan State University.                     ·6· A.· ·This is to me.
·7· Q.· ·Did you know Owen before Michigan Medicine?              ·7· Q.· ·Okay.· It says:· That is terrific.· I'm so glad to
·8· A.· ·No.                                                      ·8· · · ·hear about your grades and hear about your study
·9· Q.· ·Have you kept in touch with him?                         ·9· · · ·abroad, too.· I'm copying Owen Brown on this email.
10· A.· ·No.                                                      10· · · ·Owen was recently accepted to UM Medical School.· As
11· Q.· ·Did you have -- were you given an umich.edu email        11· · · ·we discussed, he has a much better
12· · · ·address as part of your alleged internship?              12· · · ·understanding/perspective of the current med school
13· A.· ·No.                                                      13· · · ·application process and can discuss with you what UM
14· Q.· ·Were you given any type of University of Michigan        14· · · ·Med School is looking for.· Owen went to UM undergrad,
15· · · ·email address?                                           15· · · ·too.· Don't be a hater since you're an MSU student.
16· A.· ·No.                                                      16· · · ·Sincerely, John Doe.
17· Q.· ·Paragraph thirty-three of Exhibit 1.                     17· · · · · · · · · That's the email you're referring to?
18· A.· ·Yes.                                                     18· A.· ·You forgot the little emoji after the MSU student.
19· · · · · · · · · MR. ALTMAN:· Hang on a second.· Okay.         19· Q.· ·Okay.· There's a wink?
20· BY MR. KENT:                                                  20· A.· ·A wink.
21· Q.· ·This sexually harassing behavior that you're             21· Q.· ·A wink emoji?
22· · · ·referencing there, was that during the alleged           22· A.· ·Yes.
23· · · ·internship?                                              23· Q.· ·Okay.· And you don't -- you think that is sexually
24· A.· ·Yes.                                                     24· · · ·harassing, it's not because of the MSU crack?
25· Q.· ·It was through emails?                                   25· A.· ·No.· This is a sexually suggestive email, and then
                                                    Page 111                                                          Page 113
·1· A.· ·Yes.                                                     ·1· · · ·that was later confirmed.· Right after this email, I
·2· Q.· ·Tell me what he was doing through emails.                ·2· · · ·did experience sexual harassment in pertaining to this
·3· A.· ·I can show you the exhibit.                              ·3· · · ·email.
·4· Q.· ·Sure.                                                    ·4· Q.· ·How so?
·5· · · · · · · · · And you're looking at Exhibit 2 right now?    ·5· A.· ·In the internship.· This is when he was making
·6· · · ·There's little numbers at the bottom of the page you     ·6· · · ·inappropriate comments in the stairwell.· It was right
·7· · · ·can reference for me.                                    ·7· · · ·after he sent me this email.· But the inappropriate
·8· A.· ·Okay.· Well, I want to first point out, let's see,       ·8· · · ·comments were sexually suggestive.
·9· · · ·0008.· So after this --                                  ·9· Q.· ·To you they were?
10· · · · · · · · · MR. ALTMAN:· Wait.· Just hold on one          10· A.· ·Yes.
11· · · ·second.· Okay.· No chance.                               11· Q.· ·Okay.· And you draw that conclusion in your mind
12· · · · · · · · · MR. KENT:· I can read it for the record if    12· · · ·because of the emoji and nothing else?
13· · · ·you'd like so that --                                    13· A.· ·Not in my mind.· It was in my experience at the
14· · · · · · · · · MR. ALTMAN:· I don't know if you need to.     14· · · ·internship right after this email.
15· · · · · · · · · THE WITNESS:· I can point out certain parts   15· Q.· ·But I'm just talking about the email in and of itself,
16· · · ·of it.                                                   16· · · ·the content of it, is it in and of itself sexually
17· BY MR. KENT:                                                  17· · · ·harassing?
18· Q.· ·Well, I think that because we should all be on the       18· · · · · · · · · MR. ALTMAN:· Objection, form.
19· · · ·same page.                                               19· BY MR. KENT:
20· A.· ·Sure.                                                    20· Q.· ·You can answer.
21· Q.· ·So you're saying this is a sexually harassing email      21· A.· ·From my experience, yes, this is.
22· · · ·that occurred during your --                             22· Q.· ·So you have experience with someone sending you a wink
23· · · · · · · · · MR. ALTMAN:· Let me just make sure.· Is       23· · · ·emoji in a sexually suggestive way?
24· · · ·that what you're saying because you were kind of --      24· A.· ·No.· I meant with my experience from John Doe, this is
25· · · · · · · · · THE WITNESS:· Yes.                            25· · · ·how I know this is sexually harassing from my




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                                                               Jane Doe
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                                                            Page 114                                                           Page 116
·1· · · ·experience from John Doe.                                         ·1· · · ·between the fall of 2014 when you and he were
·2· Q.· ·Okay.· All right.· And you did leave open the                     ·2· · · ·discussing the potential for an internship until you
·3· · · ·possibility that that wink was related to the don't be            ·3· · · ·started the internship.
·4· · · ·a hater because you're an MSU student comment?                    ·4· · · · · · · · · That was the question I asked you earlier,
·5· A.· ·That is not what that wink is about.· That's not what             ·5· · · ·and we clarified that.· I said did anything happen in
·6· · · ·that statement is about.· Because of what -- because              ·6· · · ·that time that caused your faith or trust in him to be
·7· · · ·of the physical interactions, physical, I mean, like,             ·7· · · ·eroded, and you said, no, nothing happened in that
·8· · · ·talking about touch in the stairwell, directly                    ·8· · · ·time.
·9· · · ·afterwards, right after this email, and the                       ·9· · · · · · · · · This is in that time.· It's a sexually
10· · · ·inappropriate comments that he made.                              10· · · ·harassing email.
11· Q.· ·All right.· Any other emails that are sexually                    11· · · · · · · · · So something did happen within that window
12· · · ·harassing?                                                        12· · · ·that you felt was sexually harassing, correct?
13· A.· ·I guess, like, in retrospect, I do think, I do think              13· · · · · · · · · MR. ALTMAN:· Objection, form.
14· · · ·that -- it was when he told me to text him.                       14· · · · · · · · · THE WITNESS:· When I answered the question
15· Q.· ·What number at the bottom of the page?                            15· · · ·earlier, that was my interpretation of your question
16· A.· ·0002.                                                             16· · · ·was only the fall of 2014, and this was the winter of
17· Q.· ·Okay.· Can you read that?                                         17· · · ·2014.
18· A.· ·Sure.                                                             18· BY MR. KENT:
19· Q.· ·Can you read it for the record?                                   19· Q.· ·So the record will speak for itself, and I thought we
20· A.· ·Yes.· Okay.· Hi, redacted.· I would be happy to have              20· · · ·revisited it a couple of times and you understood what
21· · · ·you shadow me.· On Monday, January 5th, I'm performing            21· · · ·I was asking.
22· · · ·endoscopies all day.· On Thursday, January 8th, in the            22· · · · · · · · · But the point is is that you still were
23· · · ·afternoon I will be seeing patients in the office.                23· · · ·okay with starting an internship with him despite the
24· · · ·This will be at the UM Medical Center.                            24· · · ·fact that you felt sexually harassed by this email
25· · · · · · · · · Why don't you text me (734) 474-7328, and              25· · · ·before it started, correct?
                                                                Page 115                                                       Page 117
·1· · · ·we'll discuss details.· Sincerely, redacted.                      ·1· A.· ·I didn't feel that my educational environment at the
·2· Q.· ·Okay.· And that one was sexually harassing?                       ·2· · · ·University of Michigan would be hostile which is what
·3· A.· ·Because -- this is sexually harassing to me because               ·3· · · ·I ended up experiencing in my internship.
·4· · · ·when I did text him, as we can see, we were making                ·4· Q.· ·You identify an instance of sexual harassment by him
·5· · · ·plans to talk on the phone, and just the way he had               ·5· · · ·before you even started your alleged internship,
·6· · · ·spoke to me on the phone call, the way he spoke to me             ·6· · · ·correct?
·7· · · ·during the phone call, like, I kind of like I brushed             ·7· A.· ·Yes.
·8· · · ·it off.                                                           ·8· Q.· ·And you did it anyway.
·9· · · · · · · · · I still felt that it was a safe internship             ·9· A.· ·I still felt it was safe for me to attend.
10· · · ·for me to attend, but when I actually got to the                  10· Q.· ·Did you bring it to anyone's attention that his -- or
11· · · ·internship, just his behavior began to escalate.                  11· · · ·anyone else that you felt like there was something
12· Q.· ·The internship started in January '15?                            12· · · ·about this email that was sexually harassing to you?
13· A.· ·Yeah, during winter break.                                        13· A.· ·No, because I was afraid of his retaliation.
14· Q.· ·Okay.                                                             14· Q.· ·You were afraid of his retaliation, but you were
15· A.· ·This is, like, one of the last days of December.                  15· · · ·willing to go shadow him anyway?
16· Q.· ·And you think you have a problem with this email,                 16· A.· ·In the shadowing I felt that I would be protected
17· · · ·right?                                                            17· · · ·by --
18· A.· ·Yes.                                                              18· Q.· ·By whom?
19· Q.· ·And I asked you earlier if anything happened between              19· A.· ·By other people there.
20· · · ·these planning sessions in 2014 until the time you                20· Q.· ·So you went into the internship worried.
21· · · ·started the internship in 2015 that caused you to have            21· A.· ·No.
22· · · ·less faith or trust in him, and you said, no, nothing             22· · · · · · · · · Why would you think that?· Why would you
23· · · ·happened.                                                         23· · · ·think I would be --
24· A.· ·That was fall of 2014.· This was December 2014.                   24· Q.· ·Well, because you're saying that you felt sexually
25· Q.· ·Yeah, I know, but I asked you if anything happened                25· · · ·harassed by him before you went in, but you felt like




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                                                       Jane Doe
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                                                    Page 118                                                          Page 120
·1· · · ·you could work for him anyway because there would be     ·1· A.· ·But, yes.
·2· · · ·protection from others around.                           ·2· Q.· ·Thank you.
·3· A.· ·It was I still felt that this would be a safe            ·3· · · · · · · · · We had that interaction earlier in the
·4· · · ·environment at Michigan Medicine, but in the event       ·4· · · ·deposition about him asking you to lie when you looked
·5· · · ·that something did happen, there would be people         ·5· · · ·at your interrogatory answers, and I pointed out where
·6· · · ·there.                                                   ·6· · · ·you said, yes, he asked me to lie and I lied.
·7· Q.· ·Okay.· So you were thinking in your mind this would      ·7· · · · · · · · · I don't -- I know you can't read his mind.
·8· · · ·still be a safe environment?                             ·8· · · ·I'm not asking you to do that.· But did he ever give
·9· A.· ·Yes.                                                     ·9· · · ·you any indication, either to what he told you, did he
10· Q.· ·But you had reason to believe that it might not be       10· · · ·ever give you any indication of why he wouldn't want
11· · · ·before you even went into it.                            11· · · ·others to know of your real relationship prior to the
12· A.· ·It was still not the predominant belief.· It was the     12· · · ·alleged internship?
13· · · ·probability that it would be safe.                       13· A.· ·Can you repeat the question again?
14· Q.· ·If you had that feeling before it started based on --    14· Q.· ·Did he ever explain to you or give you any reason to
15· · · · · · · · · MR. ALTMAN:· Objection.· Sorry.               15· · · ·help you understand why he didn't want people to know
16· BY MR. KENT:                                                  16· · · ·about your prior relationship?
17· Q.· ·Based upon this email that you identified as sexually    17· A.· ·No.
18· · · ·harassing, you just told me that you felt it was okay    18· Q.· ·Do you think it was wise to covet the relationship
19· · · ·to do it because of the protection that you would        19· · · ·that you had prior to the start of the internship?
20· · · ·likely receive from others, so you had to feel that      20· · · · · · · · · MR. ALTMAN:· Objection, form.
21· · · ·even going into it that there was some problem,          21· BY MR. KENT:
22· · · ·correct?                                                 22· Q.· ·You can answer.
23· · · · · · · · · MR. ALTMAN:· Objection, form.                 23· A.· ·So covet as in, like, to --
24· BY MR. KENT:                                                  24· Q.· ·Hide.
25· Q.· ·You can answer it.                                       25· A.· ·Hide?
                                                    Page 119                                                          Page 121
·1· A.· ·No, no.· He had always -- during this time, during       ·1· Q.· ·Yes.
·2· · · ·this time period, you know, his behavior felt very       ·2· A.· ·But, like, it was wise for him?· Like, can you ask the
·3· · · ·normal to me, this type of behavior.                     ·3· · · ·question?
·4· · · · · · · · · It was only when I began to feel              ·4· Q.· ·Yeah.· I'm just asking you, did you want -- did you
·5· · · ·uncomfortable in the work space that I felt it was       ·5· · · ·care if anyone knew, anyone around you, people you
·6· · · ·more of a hostile environment that I needed to remove    ·6· · · ·were seeing on a day-to-day basis, people who thought
·7· · · ·myself from it.                                          ·7· · · ·you were an intern, did you care if they knew or
·8· Q.· ·But that doesn't explain the email.                      ·8· · · ·didn't know about your past relationship with
·9· · · · · · · · · Did this email become sexually harassing to   ·9· · · ·Doctor Schoenfeld?
10· · · ·you, I mean, or was it -- I mean, did you look at it     10· A.· ·At the time I did not think that would impact my
11· · · ·when it was first sent to you and not think anything     11· · · ·ability to receive the educational opportunity of the
12· · · ·of it but then six months later look back at the same    12· · · ·internship at the time.
13· · · ·email and now I feel like it's a sexually harassing      13· Q.· ·Okay.· That's answering a different question.
14· · · ·email?                                                   14· · · · · · · · · My question is did you care one way or the
15· A.· ·Yes, that's correct.· At the time I did not think that   15· · · ·other whether they knew, whether it was public, that
16· · · ·there would be anything, anything -- I did not think     16· · · ·you had a previous or whatever the nature of your
17· · · ·anything wrong with this email.                          17· · · ·prior relationship was that people knew that.· Did you
18· · · · · · · · · It was only, you know, now that I'm in my,    18· · · ·care?
19· · · ·in my journey where I'm braver and stronger, I can now   19· A.· ·I did not think it was relevant at the time.
20· · · ·see the totality of circumstances.· But at the time,     20· Q.· ·So you wouldn't want -- you wouldn't, you wouldn't
21· · · ·no, I did not find it to be an alarming email.           21· · · ·have wanted other people to know?
22· Q.· ·At the time you received this, did you think it was      22· A.· ·Well, are you asking what I wish I would have done?
23· · · ·sexually harassing?                                      23· Q.· ·No.· I'm just asking if you cared one way or the
24· A.· ·At the time I received it, no.                           24· · · ·other.· If you all are sitting around the table in the
25· Q.· ·Okay.                                                    25· · · ·break room and Doctor Schoenfeld said, hey, let me




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                                                           Jane Doe
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                                                       Page 122                                                           Page 124
·1· · · ·tell everyone how I know Jane Doe, would you have            ·1· · · ·created a hostile educational environment for me.
·2· · · ·cared that he --                                             ·2· Q.· ·What did he say?
·3· A.· ·I do wish that people would have known.· I do wish.          ·3· A.· ·It was he mentioned a very uncomfortable sexual
·4· Q.· ·About your prior relationship?                               ·4· · · ·memory, but it was in regards to the prior
·5· A.· ·Yes, during the internship.                                  ·5· · · ·relationship.· It was his comment on it.
·6· Q.· ·Okay.· But you could have told them.· That's your            ·6· Q.· ·What did he say?
·7· · · ·choice to disclose that if you want to.                      ·7· A.· ·It goes back to the email I was telling you about.
·8· · · · · · · · · MR. ALTMAN:· Objection, form.                     ·8· · · · · · · · · Do we need to go back to the email?
·9· BY MR. KENT:                                                      ·9· Q.· ·No.· I just want to know what he said.· You said he
10· Q.· ·Is it not?                                                   10· · · ·said this to you verbally.
11· A.· ·I was afraid of his retaliation.                             11· A.· ·Yes.· See, it was after this date, shortly afterwards.
12· Q.· ·Okay.· So the reason you didn't tell people about your       12· Q.· ·Okay.· When you say this, it can't be picked up in the
13· · · ·prior relationship was because you feared his                13· · · ·record, so if you could read what you're referring to.
14· · · ·retaliation?                                                 14· A.· ·It was after the email on May 16th, 2015.
15· A.· ·Yes.                                                         15· · · · · · · · · MR. ALTMAN:· What's the Bates number at the
16· · · · · · · · · MR. KENT:· Let's take a two-minute break.         16· · · ·bottom?
17· · · · · · · · · MR. ALTMAN:· Okay.                                17· · · · · · · · · THE WITNESS:· It's 0008.
18· · · · · · · · · (Off the record at 5:00 p.m.)                     18· · · · · · · · · MR. ALTMAN:· Okay.
19· · · · · · · · · (Back on the record at 5:09 p.m.)                 19· · · · · · · · · THE WITNESS:· It says:· Owen went to UM
20· BY MR. KENT:                                                      20· · · ·undergrad, too, dot, dot, dot, don't be a hater since
21· Q.· ·When we were looking at paragraph thirty-three on page       21· · · ·you're an MSU student with a wink face.
22· · · ·ten of your complaint, you were describing                   22· BY MR. KENT:
23· · · ·Doctor Schoenfeld's conduct in the stairwell.                23· Q.· ·Yep.
24· · · ·Actually, wrong paragraph.· You said that he was --          24· A.· ·And then the next time I saw him in the stairwell, he
25· · · ·somewhere that he was engaging in sexually harassing         25· · · ·had mentioned the time that we had a mentorship
                                                           Page 123                                                       Page 125
·1· · · ·conduct and language, also.                                  ·1· · · ·outing, it is part of the, like, it's the, it's the
·2· A.· ·What page are we on?                                         ·2· · · ·three -- you provided interrogatories for U of M, too,
·3· Q.· ·Hold on a second.· I'm trying to find it.                    ·3· · · ·and there's, like, the evidence is not here, but there
·4· · · · · · · · · You say he was using inappropriate                ·4· · · ·is a photo -- I'm sure you've seen it -- of John Doe
·5· · · ·language.· Yeah, it was paragraph thirty-three.              ·5· · · ·and I at a basketball game where I'm wearing MSU and
·6· A.· ·Yes.                                                         ·6· · · ·he's wearing U of M.
·7· Q.· ·What language -- was it the email language or was it         ·7· Q.· ·Yeah, I remember that.
·8· · · ·him talking to you verbally?                                 ·8· A.· ·Yes.
·9· A.· ·Talking to me verbally.                                      ·9· Q.· ·Okay.
10· Q.· ·What would he say that was harassing?                        10· A.· ·He made a very inappropriate comment in reference to
11· A.· ·He would comment on my appearance.· He would inquire         11· · · ·the mentorship outing that we had at the U of M
12· · · ·about my personal life that I felt was inappropriate.        12· · · ·basketball game which occurred here at the University
13· Q.· ·Okay.· Do you recall exactly what he would say about         13· · · ·of Michigan's campus.
14· · · ·your appearance?                                             14· Q.· ·What was it?· What did he say about that membership
15· A.· ·Yes.                                                         15· · · ·outing -- excuse me -- mentorship outing?
16· Q.· ·What did he say?                                             16· A.· ·It says:· Don't be a hater since you're an MSU student
17· A.· ·During that time of my life, I had very long hair.· My       17· · · ·with a wink face.· During that game it was MSU versus
18· · · ·hair is still long, but back then it was down here,          18· · · ·U of M, and U of M won the game.
19· · · ·and I would put my hair in a braid and to the side,          19· Q.· ·Yeah.
20· · · ·and he told me that, like, I looked more attractive to       20· A.· ·And then he made a very inappropriate comment
21· · · ·him when my hair is down.                                    21· · · ·connecting the mentorship outing and the winning of
22· Q.· ·Okay.· Anything else you can remember?                       22· · · ·the game to, to a very perverted comment.
23· A.· ·He made inappropriate comments about the previous            23· Q.· ·But I keep asking you, tell me what he said.· What did
24· · · ·sexual relationship that made me feel very                   24· · · ·he say in the stairwell?
25· · · ·uncomfortable given that this is the workplace, and it       25· A.· ·So after this email he brought --




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                                                       Jane Doe
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                                                    Page 126                                                          Page 128
·1· · · · · · · · · MR. ALTMAN:· Jane, Jane, you have to -- let   ·1· · · ·lawsuit, have you come to the conclusion in fact what
·2· · · ·me try to help you out here.                             ·2· · · ·you might have thought might not have been true and
·3· · · · · · · · · THE WITNESS:· Okay.                           ·3· · · ·maybe you didn't tell them about this comment in the
·4· · · · · · · · · MR. ALTMAN:· He asked you specifically.       ·4· · · ·stairwell?
·5· · · ·There's no -- what did he say to you?                    ·5· · · · · · · · · MR. ALTMAN:· Objection, form.
·6· · · · · · · · · THE WITNESS:· He said, he said that day       ·6· BY MR. KENT:
·7· · · ·U of M won the game and he won afterwards.               ·7· Q.· ·Do you still believe today as we sit here, do you
·8· BY MR. KENT:                                                  ·8· · · ·still believe that that's something you shared with
·9· Q.· ·Okay.· And you took that as sexually harassing and       ·9· · · ·them during any interview that you had?
10· · · ·offensive?· You took that comment as sexually            10· A.· ·I shared a lot of information with them during the
11· · · ·harassing and offensive?                                 11· · · ·interview to the best of my abilities at the time, and
12· A.· ·Because I understood what he was referring to.           12· · · ·if I had accidentally forgotten to mention, just the
13· Q.· ·What did you understand he was referring to?             13· · · ·entire internship just had a lot of information of
14· A.· ·After the mentorship outing, there was a hotel booked    14· · · ·sexual harassment, and if I, if I didn't mention it
15· · · ·in Ann Arbor.                                            15· · · ·back then, well, I hope I still have the opportunity
16· Q.· ·Okay.· And you won by having a hotel?                    16· · · ·to mention it now to OIE.
17· A.· ·That's what he -- he said U of M won the game and he     17· · · · · · · · · But I know the case has been closed and the
18· · · ·won afterwards is what he had said.                      18· · · ·investigation has been closed at this time, but --
19· Q.· ·Okay.· I'm not getting it.· How did he win?              19· Q.· ·That's a pretty -- I mean, the way you describe it,
20· A.· ·He meant it as a joke, but I know it was more            20· · · ·if, in fact, that happened and if he did say that,
21· · · ·perverted than that.                                     21· · · ·that sounds like there's some sexual overtones there.
22· Q.· ·Do you think that -- are you telling me that it was      22· · · · · · · · · Would you agree that it would be something
23· · · ·sexually offensive to you because he said he won         23· · · ·that's pretty predominant in terms of the evidence of
24· · · ·because you had sexual relations at the hotel            24· · · ·sexual harassment at the time?
25· · · ·afterwards?                                              25· · · · · · · · · MR. ALTMAN:· Objection.· I'm sorry.
                                                    Page 127                                                          Page 129
·1· A.· ·Yes.                                                     ·1· · · ·Objection, foundation.
·2· Q.· ·Okay.· Okay.· Any other language that he used with you   ·2· BY MR. KENT:
·3· · · ·that would fall into that category during your alleged   ·3· Q.· ·Do you think it's a pretty big deal?
·4· · · ·internship that you found sexually objectionable?        ·4· A.· ·No.· I think there was a plethora of information as to
·5· · · · · · · · · MR. ALTMAN:· For clarification, are you       ·5· · · ·how this was sexual harassment.
·6· · · ·asking written or verbal or either?                      ·6· Q.· ·And that particular piece was just -- didn't carry any
·7· · · · · · · · · MR. KENT:· No.· What he said to her or        ·7· · · ·greater or lesser significance than other things like
·8· · · ·verbal.                                                  ·8· · · ·these emoji emails?
·9· · · · · · · · · MR. ALTMAN:· Okay.· Jane, did you hear        ·9· A.· ·No.
10· · · ·that?                                                    10· · · · · · · · · MR. ALTMAN:· Objection.· Hold on.
11· · · · · · · · · THE WITNESS:· Yes.                            11· · · ·Objection, form.
12· · · · · · · · · MR. ALTMAN:· Okay.                            12· BY MR. KENT:
13· · · · · · · · · THE WITNESS:· Just the question is about --   13· Q.· ·Okay.
14· · · ·that is all I can remember as of right now.              14· A.· ·Now as I continue to, now as I continue to recover
15· BY MR. KENT:                                                  15· · · ·from all that has happened to me, this, this encounter
16· Q.· ·Okay.· Can I ask you why you didn't -- when you went     16· · · ·was quite scary for me, and in the year 2018 was my
17· · · ·to OIE in January 2018, why you didn't tell them about   17· · · ·first time coming forward, it was very scary, too.
18· · · ·that comment in the stairwell?                           18· · · · · · · · · But now I can recognize, recognize, I can
19· · · · · · · · · MR. ALTMAN:· Objection, form.                 19· · · ·just recognize and acknowledge it better more, more
20· · · · · · · · · THE WITNESS:· Well, I thought I did tell      20· · · ·than before.
21· · · ·them.· It's been five years.· I thought I did tell       21· Q.· ·Okay.· Paragraph thirty-nine of your first amended --
22· · · ·them.                                                    22· · · ·second amended complaint, have you had a chance to
23· BY MR. KENT:                                                  23· · · ·look at that?
24· Q.· ·Okay.· Do you feel since you've had some time to look    24· A.· ·Yep.
25· · · ·at documents, to reflect on this, to file this           25· Q.· ·Is that true?




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·1· · · · · · · · · MR. ALTMAN:· Hold on one second.              ·1· Q.· ·Did the two of you ever discuss having the letter
·2· · · · · · · · · Okay.· Thank you.                             ·2· · · ·written by someone else who may have been in the
·3· BY MR. KENT:                                                  ·3· · · ·vicinity or saw you and were able to observe some of
·4· Q.· ·Is that why you exited the internship?                   ·4· · · ·these qualities that you're describing?
·5· · · · · · · · · MR. ALTMAN:· Objection, form.                 ·5· A.· ·No, he never mentioned that, but if he did, I would
·6· · · · · · · · · THE WITNESS:· I exited the internship         ·6· · · ·not think that would be appropriate because I spent
·7· · · ·because of his -- because him declining the letter of    ·7· · · ·most of my time with him, and he observed me in a
·8· · · ·recommendation was an obvious form of retaliation        ·8· · · ·clinical setting.
·9· · · ·against me for declining his sexual advances.            ·9· Q.· ·Did you have any sympathy or understanding for the
10· BY MR. KENT:                                                  10· · · ·reasons that he didn't want to do it?
11· Q.· ·Was his declining the letter of recommendation the       11· A.· ·No.
12· · · ·cause or a cause of you exiting the alleged              12· Q.· ·And you think that he didn't want to do it because he
13· · · ·internship?                                              13· · · ·didn't agree with your assessment of the quality of
14· A.· ·It was.                                                  14· · · ·your work or if he didn't want to do it for other
15· · · · · · · · · MR. ALTMAN:· Objection, form.                 15· · · ·reasons?
16· BY MR. KENT:                                                  16· · · · · · · · · MR. ALTMAN:· Objection, form.
17· Q.· ·Okay.                                                    17· · · · · · · · · THE WITNESS:· He did not want to write me
18· A.· ·It was in the combination of what I had experienced      18· · · ·a letter of recommendation as an obvious form of
19· · · ·throughout the internship, just the escalating           19· · · ·retaliation because I declined his sexual advances.
20· · · ·behavior, the sexually hostile environment, him          20· BY MR. KENT:
21· · · ·rejecting the letter of recommendation.                  21· Q.· ·So he never explained to you that the reason that he
22· · · · · · · · · And I had tried to persuade him afterwards,   22· · · ·didn't want to write the letter was because he didn't
23· · · ·I had tried to, you know, just really convince him       23· · · ·feel it was appropriate considering your past sexual
24· · · ·that I really don't understand his reasoning and         24· · · ·relationship?· Did he ever say that to you?
25· · · ·rationale as to why he was declining because I worked    25· A.· ·He did say that, but just given the totality of
                                                    Page 131                                                          Page 133
·1· · · ·really hard, I put in all my hours, but he was           ·1· · · ·circumstances, I know that was not his -- I think he
·2· · · ·persistently declining a letter of recommendation, and   ·2· · · ·was being untruthful when he had said that.
·3· · · ·that was for me, like, the straw that broke the          ·3· Q.· ·Okay.
·4· · · ·camel's back.                                            ·4· A.· ·It was during my internship that I began to understand
·5· Q.· ·The declining of the letter?                             ·5· · · ·that Doctor Schoenfeld has a reputation of having
·6· A.· ·Yes.· I worked really hard, put all my hours in. I       ·6· · · ·anger issues, especially at work.
·7· · · ·had to redo my internship with Doctor Anthony Emmer      ·7· Q.· ·Well, you shadowed him for twenty or so times, maybe a
·8· · · ·because letters of recommendation for medical school,    ·8· · · ·little less.
·9· · · ·those have now actually become a requirement for some    ·9· · · · · · · · · Did you ever see that?
10· · · ·medical schools.                                         10· A.· ·I saw his anger come out about the letter of
11· Q.· ·Did his decline to provide you with a letter result in   11· · · ·recommendation.
12· · · ·any form of argument between the two of you?             12· Q.· ·But I'm talking about during the shadowing process.
13· A.· ·Yes.                                                     13· A.· ·Yes, I did see his anger.
14· Q.· ·Tell me as best as you can recall what happened.· Was    14· Q.· ·Other than OIE in early 2018, did you go anywhere else
15· · · ·it just one time that this was brought up?               15· · · ·to report all of these various things what you felt
16· A.· ·No.· I had, I had mentioned this multiple times          16· · · ·was retaliation, what you felt was harassment.· In
17· · · ·throughout the internship that I've been working very    17· · · ·that window of time, that two plus years before going
18· · · ·hard, I put in my hours, I'm learning a lot, I'm         18· · · ·to OIE, did you share with any body of authority,
19· · · ·scientifically inquisitive, that I, you know, earned     19· · · ·police, medical school, Dean's Office, anywhere, the
20· · · ·this letter of recommendation, and he just was           20· · · ·things that you're talking about today?
21· · · ·persistently declining and persistently getting more     21· A.· ·No.· OIE was the very first step I took towards
22· · · ·hostile, his anger.                                      22· · · ·justice.
23· · · · · · · · · So as the culmination of the declining of     23· · · · · · · · · MR. KENT:· Okay.· Thank you.· I'm all done.
24· · · ·letter of recommendation but also being afraid of his    24· · · · · · · · · MR. ALTMAN:· I have a few questions, and
25· · · ·anger is why I had to leave abruptly.                    25· · · ·I'll be very brief.




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·1· EXAMINATION BY MR. ALTMAN:                                    ·1· A.· ·Yes.
·2· Q.· ·Jane, during the internship, you said you were exposed   ·2· Q.· ·And did you tell that to John Doe?
·3· · · ·to employees, is that correct?                           ·3· A.· ·Yes.
·4· A.· ·Yes.                                                     ·4· Q.· ·And did you discuss it with John Doe during the time
·5· Q.· ·You also said you were exposed to faculty, is that       ·5· · · ·that you had the internship?
·6· · · ·correct?                                                 ·6· A.· ·Yes.
·7· A.· ·Yes.                                                     ·7· · · · · · · · · MR. ALTMAN:· Nothing further.· Thank you.
·8· Q.· ·You also said you were exposed to staff, is that         ·8· · · · · · · · · MR. KENT:· All set.
·9· · · ·correct?                                                 ·9· · · · · · · · · THE WITNESS:· Can I make some --
10· A.· ·Yes.                                                     10· · · · · · · · · MR. ALTMAN:· No.· What you can do is read
11· Q.· ·Did anybody ever ask you to show you an ID?              11· · · ·and sign.
12· A.· ·No.                                                      12· · · · · · · · · THE WITNESS:· Read and sign.· Okay.
13· Q.· ·Did anybody ever ask you to show you a key card?         13
14· A.· ·No.                                                      14· · · · · · · · · (Deposition concluded at 5:32 p.m.)
15· Q.· ·Did anybody ever question you as to what you were        15
16· · · ·doing there?                                             16
17· A.· ·No.                                                      17
18· Q.· ·Did anybody ever ask you to fill out any -- if you       18
19· · · ·filled out any kind of forms?                            19
20· A.· ·No.                                                      20
21· Q.· ·The issue with respect to you talking about the --       21
22· · · ·John Doe telling you to tell somebody that he was an     22
23· · · ·uncle, did you tell that to anybody?                     23
24· A.· ·Not that he was an uncle, no.                            24
25· Q.· ·Well, that he was a family friend.· Sorry.               25
                                                    Page 135                                                          Page 137
·1· A.· ·Yes.                                                     ·1· STATE OF MICHIGAN· · )
                                                                  · · · · · · · · · · · · ·)SS.
·2· Q.· ·How many people?
                                                                  ·2· COUNTY OF LIVINGSTON )
·3· A.· ·One.                                                     ·3· · · · · · · · ·CERTIFICATE OF NOTARY PUBLIC
·4· Q.· ·Okay.· And who was that person?                          ·4· · · · · · · · · · · · · · ·I certify that this transcript
·5· A.· ·Christine Marie Brazo.                                   ·5· · · ·is a complete, true, and correct record of the
·6· Q.· ·Now, during the internship if Doctor Schoenfeld --       ·6· · · ·testimony of the deponent to the best of my ability

·7· · · ·sorry -- if John Doe told you to do something, would     ·7· · · ·taken on Thursday, June 8, 2023.
                                                                  ·8· · · · · · · · · · · · · · ·I also certify that prior to
·8· · · ·you have done it?
                                                                  ·9· · · ·taking this deposition, the witness was duly sworn by
·9· A.· ·Yes.
                                                                  10· · · ·me to tell the truth.
10· Q.· ·Why?                                                     11· · · · · · · · · · · · · · ·I also certify that I am not a
11· A.· ·Because he was in a position of power over me, and I     12· · · ·relative or employee of a party, or a relative or
12· · · ·was afraid of his retaliation.                           13· · · ·employee of an attorney for a party, have a contract
13· Q.· ·After the internship ended, what, if any, difficulty     14· · · ·with a party, or am financially interested in the
                                                                  15· · · ·action.
14· · · ·did you have talking to anybody in authority about
                                                                  16
15· · · ·what took place?
                                                                  17
16· A.· ·Repeat your question again.                              18
17· Q.· ·After the internship ended, what, if any, difficulty     19
18· · · ·did you have talking about what took place with          20
19· · · ·anybody of authority?                                    · · · · · ___________________________________________

20· A.· ·I was afraid of retaliation.· I was also afraid of me    21
                                                                  · · · · ·Cheryl McDowell, CSR-2662
21· · · ·discussing what had occurred would affect my
                                                                  22· · · ·Notary Public, Livingston County
22· · · ·application to medical school.                           · · · · ·State of Michigan
23· Q.· ·Now, at the time you started the internship, you were    23· · · ·Commission Expires September 13, 2025
24· · · ·hoping to go -- were you hoping to go to University of   24
25· · · ·Michigan Medical School?                                 25




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